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                               EXHIBIT 16
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                                                                                                                    PreLawsuit Documents Consent                                                          Post-Lawsuit Documents consent
                                                                         Fax Number                                                                                 Total
                                                                        from EE001-33 Credit Applications   Data Quote                                            Prelawsuit
                                                                             (4)              (5)            Sheet (6)       Update Form (7)          (8)         Consent (9)                                                                          Total

                                                                                                                                                                                   Signed
                                                                                                          Data Quote Sheet                      Update Found in                  permission                 Verified Info. /     Verified Info. /
                                                                                      Credit App found in found in EE2365- Update Found in       EE03061-3946                       to fax                 Perm. To Fax Doc.    Perm. To Fax Doc.    Excluding
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                                                                                              19                  32              152                290             340             112        409                                   1083             1088
                                             (formally)Sierra Supply,
1         X            CHARLIE / JERRY                 Inc.              7753533300            0                0                   0                 0               0              0           0                 X                    1                1
2                       BRIAN BORIA          146 Supply Center, Inc.     5088650542            0                0                   0                 0               0              0           0                 X                    1                1
3                                                 900 America            3303799900            0                0                   0                 0               0              0           0                                      0                0
4                         MICHELLE               A & A Hydraulic         2163624020            0                0                   0                 0               0              0           0                 X                    1                1

5                    IAN ARNOLD/ WENDY A & a Safe Lock & Door Co         4046080362            0                0                   0                 1               1              0           1                 X                    1                1
6                          PAULA        A & L Eastern Hydraulics         2037779851            0                0                   0                 1               1              0           1                 X                    1                1
                        CARL, CATELLO,
7         X                Ginger         A 1 Tool & Repair Inc          9042824511            0                0                   1                 1               1              0           1                 X                    1                1
                                          A A CASEY TOOLS &
8         X                NANCY               FASTENERS                 3862380973            0                0                   1                 0               1              0           1                 X                    1                1

 9                         JACKIE           A A Locksmith Svc Co data    7036857241            0                0                   0                 1               1              0           1                 X                    1                1
10                      AMBER, NICK             A A Safe & Lock Co       8314235487            0                0                   0                 0               0              0           0                 X                    1                1
11                     BARBARA, KEVIN        A Advanced Locksmiths       8582773072            0                0                   0                 0               0              0           0                 X                    1                1
12                          # NG                    A C Moore            2072535528            0                0                   0                 0               0              0           0                                      0                0
13                           JOE             A Kustom Locksmith Svc      9494619113            0                0                   0                 1               1              0           1                 X                    1                1
14                          # NG             A Lighting Maintenance      9549280958            0                0                   0                 0               0              0           0                                      0                0
15                        AMBER                 A VORTEX DOORS           7022229122            0                0                   0                 0               0              0           0                 X                    1                1
16        X                 David                 A.A. Casey Co.         8132389527            0                0                   0                 1               1              1           1                 X                    1                1
17                                             A.W. Meyer Co., Inc.      2019458168            0                0                   0                 0               0              0           0                                      0                0
                                               A-1 Alabama Key &
18                       ERIC/MATT                Locksmith, Inc.        2057592252            0                0                   0                 1               1              0           1                 X                    1                1
19                          BEN                    A1 Appliance          6153520418            0                0                   0                 0               0              0           0                 X                    1                1
                                            A1 Equipment Service and
20        X               LIZ, Noelle               Repair, Inc.         2158268006            0                0                   1                 1               1              0           1                 X                    1                1
21                           JOHN                 A1 Lock & Safe            #N/A               0                0                   0                 1               1              0           1                 X                    1                1
22                         JERRILYN            A-1 Lock & Security       7062260818            0                0                   0                 1               1              0           1                 X                    1                1
                                            a-1 Repair Sv. / Gepperts
23        X                 DAVID                     Rental             2156594384            0                0                   0                 0               0              0           0                 X                    1                1
                                            a-1 Repair Sv. / Gepperts
24        X                 DAVID                     Rental             2156594384            0                0                   0                 0               0              0           0                 X                    1                1
25                         LILIANA               A-1 Scale Service       2105211333            0                0                   0                 0               0              0           0                 X                    1                1
26        X                  TIM             A-1 Servo Motor Repair      9723131341            1                0                   0                 0               1              1           1                 X                    1                1
27                                                    A2z Inc            5058848093            0                0                   0                 0               0              0           0                                      0                0

28                        VICTORIA          AA BROTHERS II BUSINESS      6315850334            0                0                   0                 0               0              0           0                 X                    1                1
29                                            AAA Apliance Repair        7178527278            0                0                   0                 0               0              0           0                                      0                0
                                             AAA Business Machines
30                     BETTY / CARRIE                  Inc               4794420342            0                0                   0                 1               1              0           1                 X                    1                1
31                         BRIAN               AAA Home Services         6362786085            0                0                   0                 0               0              0           0                 X                    1                1
32        X              TIM, JESSE             Aaa Tool & Supply           #N/A               0                0                   0                 1               1              0           1                 X                    1                1
33        X                 Jose                 AAA Tool Supply         9549895738            0                0                   1                 1               1              0           1                 X                    1                1
34                          ROB                    AAR Corp.             6302272039            0                0                   0                 0               0              0           0                 X                    1                1
35                      BAD NUMBER            AAR Landing Gear Ctr       5162220987            0                0                   0                 0               0              0           0                 X                    1                1
36                         NEAL               Abbey Locksmith, Inc.      2129889192            0                0                   0                 0               0              0           0                 X                    1                1




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37                          ERIC               ABC BATON ROUGE           2257563180           0                 0                  0                  0               0             0           0                X                    1                1
38                         DENNIS               ABC Locksmiths           9099873838           0                 0                  0                  1               1             0           1                X                    1                1

39                         KATIE            ABC Office Machines, LLC     5414791907           0                 0                  0                  0               0             0           0                X                    1                1
40                        DOROTHY                 Abco Easy Door         9148342995           0                 0                  0                  0               0             0           0                X                    1                1
                                               Aberdeen Dynamics
41                                                     Supply            9184378420           0                 0                  0                  0               0             0           0                                     0                0
                                            ABLE LOCKSMITH & DOOR
42                      ALEX HECHTA                     SVC              6315877283           0                 0                  0                  0               0             0           0                X                    1                1
43                         TONY                   Able Locksmiths        7123256147           0                 0                  0                  0               0             0           0                X                    1                1
44                                                 Academy Tool          3154559522           0                 0                  0                  0               0             0           0                                     0                0
45                    JENNIFER /MATT          Accurate Forklift, Inc.    7075859734           0                 0                  0                  1               1             0           1                X                    1                1
                      JUSTIN THOMAS/        Accurate Lock & Security,
46                          Larry                       Inc.             3607348765           0                 0                  0                  0               0             0           0                X                    1                1
47                        NICOLE                 Accurate Scale Co       7738471828           0                 0                  0                  0               0             0           0                X                    1                1
48                       ROB, JOHN            Accurate Security Pros     8585304820           0                 0                  0                  1               1             0           1                X                    1                1
49                          SAM                    Ace Appliance         4193895156           0                 0                  0                  0               0             0           0                X                    1                1
50                      BAD NUMBER               Ace appliance svc          #N/A              0                 0                  0                  0               0             0           0                X                    1                1
51                    Kevin, MARJORIE        Ace Hardware Titusville     3212673799           0                 0                  0                  1               1             0           1                X                    1                1
                                                Ace Locksmith and
52                      PETER, TONY              Security Systems        7817693356           0                 0                  0                  0               0             0           0                X                    1                1
53                       BRIDETTE,                Ace Security Inc       9735956149           0                 0                  0                  0               0             0           0                X                    1                1
54        X            JAMES, Kelvin                  Ace Tool           5167830037           0                 0                  1                  1               1             0           1                X                    1                1
55                         TRISH                    Ace Tool Co          5152743725           0                 0                  0                  0               0             0           0                X                    1                1
56        X                Andre               ACI communications        8182233609           0                 0                  1                  1               1             0           1                X                    1                1
57        X               ROGER              Acme Electric/Tool Crib;    2186240261           0                 0                  0                  0               0             0           0                X                    1                1
58                         TROY                Acme Hydraulics Inc       9133210706           0                 0                  0                  0               0             0           0                X                    1                1
59        X               AARON                Acme Tool Repair Inc      7074310461           0                 0                  0                  0               0             1           1                X                    1                1
60        X                BRAD                     Acme Tools           5152446366           0                 0                  0                  0               0             1           1                X                    1                1
61        X            DAVE, MELISSA                Acme Tools           3193638389           0                 0                  0                  0               0             1           1                X                    1                1
62        X                SCOTT                Acme Tools - Minot       7018392253           0                 0                  0                  0               0             0           0                X                    1                1
63        X                TRACY              Acme Tools Bismarck        7012581292           0                 0                  0                  0               0             0           0                X                    1                1
64                         TODD                       ACRS Inc           4023318356           0                 0                  0                  0               0             0           0                X                    1                1
                                            Action Computer & Toner
65                        WILLIAMS                   Supply Inc          4089462426           0                 0                  0                  0               0             0           0                X                    1                1
66                         DONNA              Action Lock & Key Inc      7812291639           0                 0                  0                  0               0             0           0                X                    1                1
67                                               Action Locksmith        8016850743           0                 0                  0                  0               0             0           0                                     0                0
68                     OK FRONT DESK          Active Appliances Inc.     8187781990           0                 0                  0                  0               0             0           0                X                    1                1

69                          ALICE           ACU Grind Tool Works Inc     9417539800           0                 0                  0                  1               1             0           1                X                    1                1

70                         RALPH            Acucal Calibration Services 7033693786            0                 0                  0                  0               0             0           0                X                    1                1
71                         ALISA             Advance Door Company 2168838952                  0                 0                  0                  0               0             0           0                X                    1                1

72                    JAMES, SHANNON        Advance Electronic Svc Inc   3367897149           0                 0                  0                  0               0             0           0                X                    1                1
73                       ANGELO                 Advanced Air Tool        6312495886           0                 0                  0                  0               0             0           0                X                    1                1
74                        GERALD             Advanced Electronics Inc    5022674312           0                 0                  0                  0               0             0           0                X                    1                1
75                                           Advanced Electronics Inc    8067638245           0                 0                  0                  0               0             0           0                                     0                0
                                               Advanced Fastening
76                          LISA                     Supply              6084411952           0                 0                  0                  0               0             0           0                X                    1                1
                                                Advanced Testing
77                        PATRICK                 Systems, Inc.          2037432325           0                 0                  0                  0               0             0           0                X                    1                1




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                                               Advanced Tool & Cutter
78                           STEPHANIE             Grinding Co., Inc.       3157684807           0                 0                  0                  0               0             0           0                X                    1                1
79                             SARAH                  Advantel Inc          4084357928           0                 0                  0                  0               0             0           0                X                    1                1
80                          REPAIR DEPT             Aerus Electrolux        6107892437           0                 0                  0                  0               0             0           0                X                    1                1
81                             JOLENE          Affordable Lock and Key      8139630008           0                 0                  0                  1               1             0           1                X                    1                1
82                                              Air & Hydraulic Service     8085911237           0                 0                  0                  0               0             0           0                X                    1                1
83                             EILEEN                Air and Armor          2545262337           0                 0                  0                  0               0             0           0                X                    1                1
84                             DIANE           Air Conditioning Services    6158340921           0                 0                  0                  0               0             0           0                X                    1                1

85         X                   CHRIS       Air Electric Tools & Service     5095343752           0                 0                  1                  0               1             0           1                X                    1                1
86         X                  ROB, BEN        AIR SPECIALISTS, INC.         7704240806           0                 0                  1                  1               1             0           1                X                    1                1
87         X                   DAVE           Air Tool Maintenance          5414618865           0                 0                  1                  1               1             0           1                X                    1                1
88                          SEAN, BIRDIE        Aircraft Heating Inc        5302464371           0                 0                  0                  1               1             0           1                X                    1                1
                                                  AIS Industrial &
89         X                     DAN                Construction            3033556572           0                 0                  0                  0               0             1           1                X                    1                1
90                                                alameda electric          8314244232           0                 0                  0                  1               1             0           1                                     0                1
91                          LEON, BRYAN           Alameda Electric          7072077230           0                 0                  0                  1               1             0           1                X                    1                1
                                             Alameda Electrical Distr
92                             TOMMY                      Inc               8318998866           0                 0                  0                  0               0             0           0                X                    1                1
                                                Alameda Electrical
93                            Skip, JEFF             Distributors            #VALUE!             0                 0                  0                  1               1             0           1                X                    1                1
                                                Alameda Electrical
94                                JOE                Distributors           2095502510           0                 0                  0                  1               1             0           1                X                    1                1
                                                Alameda Electrical
95                               TIM                 Distributors           5307811325           0                 0                  0                  1               1             0           1                X                    1                1
                                                  Alaska Industrial
                      MIKE SHEARER/CHRISTINE          Hardware              9072583054           0                 0                  0                  1               1             0           1                X                    1                1
96
97         X                     BETH          ALCO TOOL SUPPLY             5742932254           0                 0                  1                  1               1             0           1                X                    1                1
98                              ALLEN           Alcom Services Inc.         7044358816           0                 0                  0                  0               0             0           0                X                    1                1
                                                 All About Doors &
99                            MELISSA                 Windows               8162216688           0                 0                  0                  0               0             0           0                X                    1                1
                                             All City Electric Motor -
100        X                    MARK                  Riverview             7342840032           0                 0                  1                  1               1             0           1                X                    1                1
101                           MELISSA         All Dade Lawnmowers           3055597441           0                 0                  0                  1               1             0           1                X                    1                1
102        X                    JOHN         All Seasons Equipment          5414616729           0                 0                  1                  1               1             0           1                X                    1                1
                                           All Star Sewer Equipment
103                           CRYSTAL                   Sales               6368874667           0                 0                  0                  0               0             0           0                X                    1                1
                                           All State Ac+J140cess Lock-
104                          COURTNEY                  security                #N/A              0                 0                  0                  0               0             0           0                X                    1                1
105        X                      JIM        All Tool Svc & Supply Co       5592557492           0                 0                  0                  0               0             1           1                X                    1                1
106                           VANESSA             Allan J. Coleman          7737282499           0                 0                  0                  0               0             0           0                X                    1                1
107                             ALLAN         Allan Jeffries Framing        3236554291           0                 0                  0                  1               1             0           1                X                    1                1
                                                Allen Young Office
108                             KATHY                 Machines              3256535086           0                 0                  0                  0               0             0           0                X                    1                1
109        X                 D.J. HAASE      Allen’s Tool Repair Inc.       4062483741           0                 0                  0                  0               0             1           1                X                    1                1
110                              DON           Allied Battery Co Inc        5092484850           0                 0                  0                  0               0             0           0                X                    1                1
                                               Allied Electric Motor
111        X              GEORGE, Randy               Company               6152593896           0                 0                  1                  1               1             0           1                X                    1                1

112                             SAM            Allied Fastener & Tool Inc   5615853715           0                 0                  0                  0               0             0           0                X                    1                1
                                                   Allied INSTRUMENT
113                            LACY                    SERVICE, INC.        7087882277           0                 0                  0                  0               0             0           0                X                    1                1




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                                                  Allied Measurement
114                           STACEY             Systems Corporation       7083858664           0                 0                  0                  0               0             0           0                X                    1                1
115                            RICK                Allsafe & Lock Inc      6036260118           0                 0                  0                  0               0             0           0                X                    1                1
                                                ALL-SAFE LOCKSMITHS,
116                          BERTO                         INC.            9164893918           0                 0                  0                  1               1             0           1                X                    1                1
117        X                MARGORIE                 Al's Tool Repair      4177814849           0                 0                  0                  0               0             0           0                X                    1                1
118                          BONNIE              ALWAYS SAFE & LOCK        3607548331           0                 0                  0                  0               0             0           0                X                    1                1
                                               Ambrosi Brothers Cutlery
119                         FRONT DESK                      Co             8167562149           0                 0                  0                  0               0             0           0                X                    1                1
120                         LEXI/RUSTY          America Grinding Sales     8165611778           0                 0                  0                  0               0             0           0                X                    1                1

121        X                 RICHARD           American Armature Works     3182220724           0                 0                  0                  0               0             0           0                X                    1                1
                                                 AMERICAN ELECTRIC
122                           ASHLEY              SERVICE CO., INC.        7033851758           0                 0                  0                  0               0             0           0                X                    1                1
                                               AMERICAN Equipment Co
123                            PAM                       Inc               8642957973           0                 0                  0                  0               0             0           0                X                    1                1
124                            JULIE            American Frame Corp.       4198933553           0                 0                  0                  0               0             0           0                X                    1                1
125        X                    ABE              American Industrial       5867763529           0                 0                  1                  0               1             0           1                X                    1                1
                                               American Kitchen Mch. &
126                           JOSH                      Repair             2156271604           0                 0                  0                  0               0             0           0                X                    1                1
127                       ROBERT, HUTCH          American Locksmith        4076296761           0                 0                  0                  1               1             0           1                X                    1                1
                                                American Power Tool &
128        X                                            Repair             2538871148           0                 0                  0                  0               0             0           0                                     0                0

129        X               SHARON/ KYLE        American Tool & Fastener    9728019920           0                 0                  1                  0               1             0           1                X                    1                1

130                          Amanda            American Vision Windows     8055821580           0                 0                  0                  1               1             0           1                X                    1                1
131                           RALPH                 Americom Inc           4128318168           0                 0                  0                  0               0             0           0                X                    1                1
132        X                CORY/TYLER          Anco Fastener Sales Inc    5414857867           0                 0                  1                  1               1             0           1                X                    1                1
                                                Anderson Brothers Tool
133                           RALPH                     Repair             3173566382           0                 0                  0                  0               0             0           0                X                    1                1

                      DAVE KAISER / NICOLE, JOAnderson Lock & Safe LLC     6025890104           0                 0                  0                  1               1             0           1                X                    1                1
134

135                            RENEE           ANGELINA AMERICAN INC       9366336160           0                 0                  0                  0               0             0           0                X                    1                1
                                                ANGLE REPAIR SERVICE,
136                           BARRY                     INC.               3042520481           0                 0                  0                  0               0             0           0                X                    1                1
                          BOB, LANE, JEFF,
137        X                 JOCELYN              Apex Saw Works           7753298981           0                 0                  1                  1               1             0           1                X                    1                1
                                               Appliance Smarts- Glenn
138                      GLEN ALLEN/ Brad               Allen               #VALUE!             0                 0                  0                  0               0             0           0                X                    1                1
139                                              APPLIANCE SVC INC         9259340457           0                 0                  0                  0               0             0           0                                     0                0

140                           MELISSA          Applied Business Concepts   5044672677           0                 0                  0                  0               0             0           0                X                    1                1
                                                    APPLIED COPIER
141                           ERIN                     CONCEPTS            3366321008           0                 0                  0                  0               0             0           0                X                    1                1
142        X               MARK, KARL            Applied Tool & Supply     5124480267           0                 0                  0                  0               0             0           0                X                    1                1
143                          STEVE              A-Professional Locks Inc   4809638789           0                 0                  0                  1               1             0           1                X                    1                1
144        X              BARBARA, RON          Arbuckle Electric Motors      #N/A              0                 1                  1                  1               1             0           1                X                    1                1
145                           SEAN              Arch Sewing Machine Co     2156272034           0                 0                  0                  0               0             0           0                X                    1                1
146                                                 Archer's Archery       9898351428           0                 0                  0                  0               0             0           0                                     0                0
147                            PAUL               Arizona Air Tool Co.     4809684276           0                 0                  0                  0               0             0           0                X                    1                1
148                            BRIAN                Ark City Glass Co      6204422566           0                 0                  0                  0               0             0           0                X                    1                1




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149                                             Arko-j & j Door Svc        3052629828           0                 0                  0                  0               0             0           0                                     0                0
150                         CHRISTY           ARRC Technology, Inc.        6612814008           0                 0                  0                  0               0             0           0                X                    1                1
151                                           Arron's Lock & Key Inc       2485884616           0                 0                  0                  0               0             0           0                                     0                0
                                              Art & Rays Lock & Safe,
152                          JOSH                       LLC                 #VALUE!             0                 0                  0                  0               0             0           0                X                    1                1
153                         DONNA                   Art Aspects            7044428242           0                 0                  0                  0               0             0           0                X                    1                1
154                        RHONDA                 Artex Electric Co        8707730446           0                 0                  0                  1               1             0           1                X                    1                1
155                        CRYSTAL              ASB AVIONICS, LLC          6618241006           0                 0                  0                  0               0             0           0                X                    1                1
156                        AUSTIN             ASI Authorized Svc Inc       8648958050           0                 0                  0                  0               0             0           0                X                    1                1
                                             Aspen Laser & Tech. (NO
157                          ALLIE            LONGER IN BUSINESS)          3035300344           0                 0                  0                  0               0             0           0                X                    1                1
158                          # NG              Assured Quality Tech        8477660432           0                 0                  0                  0               0             0           0                                     0                0
                                                 Atlantic Systems
159                          MARK                   Electronics            7818267165           0                 0                  0                  0               0             0           0                X                    1                1
160                           RAY               Atlas Bolt & Supply        4232652349           0                 0                  0                  0               0             0           0                X                    1                1
                                                Atlas Construction
161                          R.J.            Equipment Services, Inc.      7272990704           0                 0                  0                  1               1             0           1                X                    1                1
162                          MIKE            Augusta Tool & Spec Co        7067906270           0                 0                  0                  0               0             0           0                X                    1                1
163                          BOB                    Austin Tool            5124470102           0                 0                  0                  0               0             0           0                X                    1                1
                                             Authorized Tool Service,
164        X              PAM, KEITH                    Inc.               9374292243           0                 0                  1                  1               1             0           1                X                    1                1
165                          AMY                   Auto Medics             6503421026           0                 0                  0                  0               0             0           0                X                    1                1
                                                Automated Business
166                       MCKENZIE                  Machines               4017321550           0                 0                  0                  0               0             0           0                X                    1                1
                                               Automated Fastenting
167                        BRENDON                   Systems               3015076205           0                 0                  0                  0               0             0           0                X                    1                1
                                                Automated Laundry
168                      NESSA, EFREN                System                8185566242           0                 0                  0                  1               1             0           1                X                    1                1
169                     CARL OR MILLIE         Automatic Access, Inc.      7193903840           0                 0                  0                  0               0             1           1                X                    1                1
                                                Automotive Service
170                        MIRANDA                  Equipment              2083432673           0                 0                  0                  1               1             0           1                X                    1                1
                                               Automotive Specialty
171                          JANET                  Equipment              8015620737           0                 0                  0                  0               0             0           0                X                    1                1

172                        DEANNA            Aztec Bolting Services Inc    2813321780           0                 0                  0                  0               0             0           0                X                    1                1
173                         JAMIE             B & C Instruments, Inc.      2568836531           0                 0                  0                  0               0             0           0                X                    1                1

174                         KEITH            B & G Industrial Rental Inc   3103279174           0                 0                  0                  1               1             0           1                X                    1                1
                      T. BRAUD / ROBIN /        B & H Air Tools (Delta
175        X                 KIM                  Rigging and Tools)       2257524824           0                 0                  0                  0               0             0           0                X                    1                1
176        X                STEVE                   B & W Supply           8595250993           0                 0                  1                  1               1             0           1                X                    1                1
177        X                BART                 B C Industrial Supply     9043551937           0                 0                  0                  0               0             0           0                X                    1                1
178        X                 ED                B&B Electric Motor Co.         #N/A              0                 1                  1                  1               1             0           1                X                    1                1
                                             B&S Tool & Cutter Service,
179                         TIMEKA                       Inc.              2014883861           0                 0                  0                  0               0             0           0                X                    1                1
                                              Bailey Tool & Supply Inc
                                                (NOW CALLED TOTAL
180        X                 BILL                       TOOL)              5026356470           0                 0                  1                  1               1             0           1                X                    1                1
181                         SCOTT              Baker's Glass & Mirror      8435468094           0                 0                  0                  0               0             0           0                X                    1                1
182                                             Bakers Safe and Lock       7137807654           0                 0                  0                  0               0             0           0                                     0                0
                                             Bakersfield Electric Motor
183        X                NATE                         Rpr               6613270689           0                 0                  0                  0               0             0           0                X                    1                1
184        X             LARRY / KELLY         Bakersfield Tool Repair     6613275069           0                 0                  1                  1               1             0           1                X                    1                1




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185                                              Baldwin Brothers         8435383181           0                 0                  0                  0               0             0           0                                     0                0
                                                 Ballard Industrial
186                         ERIC                     Hardware             2067824181           0                 0                  0                  0               0             0           0                X                    1                1
187                        WARREN             Baltimore Electronics       2032484896           0                 0                  0                  1               1             0           1                X                    1                1
                                               Battery Shop of New
188                         BRIAN                     England             2032653987           0                 0                  0                  1               1             0           1                X                    1                1
189                          RICH               Bauer Truck Repair        8142266067           0                 0                  0                  0               0             0           0                X                    1                1
190        X                STEVE                Bay Area Rental          3103262638           0                 0                  0                  0               0             1           1                X                    1                1
191                         TALIA                  Bay Area Svc           9204352444           0                 0                  0                  0               0             0           0                X                    1                1
192                         RUBY              Bay City Tool & Repair      2516668403           0                 0                  0                  1               1             0           1                X                    1                1

193                        MELINDA           Bay Pest Control Co., Inc.   2288751627           0                 0                  0                  0               0             0           0                X                    1                1
194        X                LEDON             Bay Saw & Tool Repair       9254321990           0                 0                  0                  0               0             1           1                X                    1                1
195                        VANETTA              Beerman Precision         5047341321           0                 0                  0                  0               0             0           0                X                    1                1
196                        TIFFANY            Beerman Precision Inc       5044867482           0                 0                  0                  0               0             0           0                X                    1                1
                                              Bees Keys / Complete
197                         RECP.                Security Service         2147414777           0                 0                  0                  0               0             0           0                X                    1                1
198                        JAMES             Beishire Lock & Security     3148426811           0                 0                  0                  0               0             0           0                X                    1                1
199                        BRIAN               Belyea Company Inc         6102581230           0                 0                  0                  0               0             0           0                X                    1                1
200                         ERIC                  Bennett & Hair          8122388980           0                 0                  0                  0               0             0           0                X                    1                1
                       DWIGHT, HAROLD
201        X            UNDERWOOD            Berland's House Of Tools     8475406797           0                 0                  1                  1               1             0           1                X                    1                1
202                       JOHNNY                Best Lock & Safe Svc      3237336031           0                 0                  0                  1               1             0           1                X                    1                1
                                              Best Tool & Equipment
203        X            RAY / FRANK S.                  Repair            4402446810           0                 0                  1                  1               1             0           1                X                    1                1
204                                                Big D Lock City        2483983156           0                 0                  0                  0               0             0           0                                     0                0
205                         HEATH                 Big D Tool Center       2147475292           0                 0                  0                  0               0             0           0                X                    1                1
206                          ERIC            Bill Leech Repair Service    5173714605           0                 0                  0                  0               0             0           0                X                    1                1
207                          BILL              Bills Appliance Repair     8453409190           0                 0                  0                  0               0             0           0                X                    1                1
208                         CHRIS                Bills Key Lock Shop      3094548701           0                 0                  0                  0               0             0           0                X                    1                1
209                                              Bilmar Avionics Inc      4079314340           0                 0                  0                  0               0             0           0                                     0                0
210                           JOE                 Bishop Taylor Inc       3144236377           0                 0                  0                  0               0             0           0                X                    1                1
                                             BJORKMAN INDUSTRIAL
211                   NICOLAS, BARBARA              POWER CORP            7813319505           0                 0                  0                  0               0             0           0                X                    1                1
212        X               BRIAN                  BLACK & DECKER          9075617187           0                 0                  0                  0               0             0           0                                     0                0
213        X                                       Black & Decker         2059459258           0                 0                  0                  0               0             0           0                X                    1                1
214                                                Black & Decker         5107833764           0                 0                  0                  0               0             0           0                                     0                0
215        X                WAYNE                  Black & Decker         3172416867           0                 0                  0                  0               0             0           0                X                    1                1
216        X                 PAT                   Black & Decker         3149979183           0                 0                  0                  0               0             0           0                X                    1                1
217        X                 ERIC                  Black & Decker         3365479339           0                 0                  0                  0               0             0           0                X                    1                1
218        X                LARRY                  Black & Decker         5058813546           0                 0                  0                  0               0             0           0                X                    1                1
219        X                                     Black & Decker Inc       3013330864           0                 0                  0                  0               0             0           0                                     0                0
220        X                  KEN             Black & Decker U.S., Inc    7168845953           0                 0                  0                  0               0             0           0                X                    1                1
                                             Black & Decker U.S., Inc.,
221        X                 # NG                     Dewalt Div.         3186872711           0                 0                  0                  0               0             0           0                                     0                0
222        X                 DAVE              Black & Decker Us INC      8582790362           0                 0                  0                  0               0             0           0                X                    1                1
223        X                                   Black & Decker Us INC      5616849578           0                 0                  0                  0               0             0           0                                     0                0
224                         ANN                Black Hawk Industrial      9732380010           0                 0                  0                  0               0             0           0                X                    1                1
225                      ANDY / JIMMY              Blair & Sons Inc       2568301182           0                 0                  0                  1               1             0           1                X                    1                1
                                             BLINK ELECTRIC MOTORS
226        X                JASON                         INC             6417527475           0                 1                  0                  0               1             0           1                X                    1                1
227                          MIKE               BLUME SUPPLY INC          7045253947           0                 0                  0                  0               0             0           0                X                    1                1




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228                                              Bobcat of Casper         3075775842           0                 0                  0                  0               0             0           0                                     0                0
                                             Bob's Lock Safe & Key Fax
229                                                     Line              8019635796           0                 0                  0                  0               0             0           0                                     0                0
230        X            Cheryl Judge                Bob's Tools           5152877805           1                 0                  0                  0               1             1           1                X                    1                1
                                             BONNIST INTERNATIONAL,
231                                                     INC.              8453682424           0                 0                  0                  0               0             0           0                                     0                0
232        X            JOHN SCHRAER                Bosch Tools           3035958878           0                 0                  0                  0               0             0           0                X                    1                1

233                          RICK            Boston Square Lock & Key     6162437751           0                 0                  0                  0               0             0           0                X                    1                1
                                                   Bowen's Sales &
234                          MIKE                Sharpening Service       4078983362           0                 0                  0                  1               1             0           1                X                    1                1
235        X                ROBERT              Brannen's Fasteners       2107361860           0                 0                  1                  1               1             0           1                X                    1                1
                                              BREATHE EASY AIR DUCT
236                                                   CLEANING            9186651721           0                 0                  0                  0               0             0           0                                     0                0
                                                Britt & Sons Electrical
237                          CHRIS                      Whsle             7709722741           0                 0                  0                  0               0             0           0                X                    1                1
                                                      Broadview
                                             Instrumentation Services,
238                         ASHLEY                        Inc.            2165250051           0                 0                  0                  0               0             0           0                X                    1                1
239        X                 # NG                   Brock Tool Co         8479567209           0                 0                  0                  0               0             1           1                                     0                1
240        X              FRONT DESK          Brock Tool Of Detroit Inc   7342613058           0                 0                  0                  0               0             0           0                X                    1                1
                                               Broward Hydraulic Jack
241                          ALAN                 Service and Sales       9545833265           0                 0                  0                  1               1             0           1                X                    1                1
242        x                DENNIS              Broward Tool Repair       9545658229           0                 0                  0                  0               0             0           0                X                    1                1
243                          MIKE                 Brozene Hydraulic       3197547977           0                 0                  0                  0               0             0           0                X                    1                1
244                                              Brunell & Sons Inc.      2156245038           0                 0                  0                  0               0             0           0                                     0                0
245                                             Bryant Tool & Supply      7186721378           0                 0                  0                  0               0             0           0                                     0                0
                                                Bucknall Power Tool
246        X           RHONDA/MARTIN                    Service           8187652287           0                 0                  1                  1               1             0           1                X                    1                1
247        X              JEANETTE            BUENA TOOL COMPANY          8059662956           1                 0                  0                  0               1             1           1                X                    1                1
248                         KELLY                Builders Equipment       4042894947           0                 0                  0                  1               1             0           1                X                    1                1
                       MATHEW/ CARLOS
249        X                /JEFF                   Burns Tools           5086771300           0                 0                  1                  1               1             0           1                X                    1                1

250                         FRANK                 Bush Hydraulics         3612896339           0                 0                  0                  0               0             0           0                X                    1                1
251                                            Butensky Services Co       9087079822           0                 0                  0                  0               0             0           0                                     0                0
                                              Butler Cranberry Lock,
252                          JOHN                 Safe & Door Inc.        7242822227           0                 0                  0                  0               0             0           0                X                    1                1
253        X                  ROY               C & H Industrial Tool     3604230476           0                 0                  0                  0               0             1           1                X                    1                1
                                              C & L ELECTRIC MOTOR
254        X                 BOB                       REPAIR             5745331511           0                 0                  0                  0               0             1           1                X                    1                1
255                         MIKE                C & L TOOL SUPPLY         7244574904           0                 0                  0                  0               0             0           0                X                    1                1
256        X                CLYDE                   C & W Repair          6056279291           0                 0                  0                  0               0             0           0                X                    1                1
257        X                STAN                 C H Bull Company         6505834006           0                 0                  0                  0               0             1           1                X                    1                1
258        X                JOHN                 C H Bull Company         9166172659           0                 0                  0                  0               0             1           1                X                    1                1
259                                                 C H Reed Inc.         7176326582           0                 0                  0                  0               0             0           0                                     0                0
260        X            JERRY, TAMARA          C K & W SUPPLY, INC.       9185839169           0                 0                  0                  0               0             0           0                X                    1                1
261        X               SHARON                    C.H. Bull Co.        8002292855           0                 0                  0                  0               0             0           0                X                    1                1
262                         TONY                    Cable Center          3144328024           0                 0                  0                  0               0             0           0                X                    1                1
263                       CHRISTINA                Cal Lab Co., Inc       7085965802           0                 0                  0                  0               0             0           0                X                    1                1
                                             Calandra Industrial Supply
264                         BILL                    Co - Lancaster        7406538312           0                 0                  0                  0               0             0           0                X                    1                1
265        X             TONY, JENNY           California Service Tool    5107821422           0                 0                  0                  0               0             0           0                X                    1                1




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266        X                CAROLE           California Service Tool Inc   9169250247           0                 0                  0                  0               0             0           0                X                    1                1
267                       BECKY, JOHN                 Caltronics           9163611829           0                 0                  0                  1               1             0           1                X                    1                1
268                      DAVID/DEBBIE         Camouflage Electric Inc      7723400560           0                 0                  0                  1               1             0           1                X                    1                1
269        X             Sheree Silvey          Campbell Supply Co         3193950003           0                 0                  1                  1               1             1           1                X                    1                1
                                             Capital Equipment Sales,
270                         CALVIN                       Inc.              5403899937           0                 0                  0                  0               0             0           0                X                    1                1
271                                                Capital Lock Inc        6082556977           0                 0                  0                  0               0             0           0                                     0                0
                                              Capitol Drilling Supplies
272        X                                              Inc              3178722077           0                 0                  0                  0               0             0           0                                     0                0
273                     ARMANDO, ED             Carbide Saw & Tool         9093810773           0                 0                  0                  1               1             0           1                X                    1                1
274                     JANE BURNETT            CARBIDE SAWS INC           3368827912           0                 0                  0                  0               0             0           0                X                    1                1
275                                                 Carlton Scale          8659385054           0                 0                  0                  0               0             0           0                                     0                0
276                        KATRINA                  Carlton Scales         3366683463           0                 0                  0                  0               0             0           0                X                    1                1
                                             Carolina Cutlery Service,
277                                                      Inc.              7045043782           0                 0                  0                  0               0             0           0                                     0                0

278                        HEATHER           Car-O-Lina Hearing Center     9104525301           0                 0                  0                  0               0             0           0                X                    1                1
279                         NICOLE               Carolina Scales Inc       8037394365           0                 0                  0                  0               0             0           0                X                    1                1
                                               Carolina Tool Repair &
280        X                  JIM                       Sales              3362754565           0                 0                  0                  0               0             0           0                X                    1                1

281                      TOM DUNCAN          CARPENTER AVIONICS INC        6154590656           0                 0                  0                  0               0             0           0                X                    1                1
                                              Carson's Nut Bolt & Tool
282        X                 GARY                        CO                7049270176           0                 0                  0                  0               0             0           0                X                    1                1
                                              Carson's Nut, Bolt & Tool
283        X            JENNIFER, CHRIS               Co., Inc.            8645839931           0                 0                  1                  1               1             0           1                X                    1                1
                                              Carson's Nut, Bolt & Tool
284        X            GARY, Melodie                 Co., Inc.            8642426821           0                 0                  1                  1               1             0           1                X                    1                1
285                      DON/LAUREL               Carspecken-Scott         3026558971           0                 0                  0                  1               1             0           1                X                    1                1
286                      REPAIR DEPT          Cascade Automation Inc       5417478288           0                 0                  0                  0               0             0           0                X                    1                1
287                        KATHY               Casey Equipment Corp        3307501009           0                 0                  0                  0               0             0           0                X                    1                1
                                                Cash Technologies Of
288                          MIKE                     America              9728871286           0                 0                  0                  0               0             0           0                X                    1                1
289                         DURAN                    CashTrans             7709416819           0                 0                  0                  0               0             0           0                X                    1                1
290                                           Casper Appliance Service     3075770569           0                 0                  0                  0               0             0           0                                     0                0
291                                              CCF of Atlanta, Inc.         #N/A              0                 0                  0                  0               0             0           0                                     0                0
292                         RECP.                        CDE               7704995015           0                 0                  0                  0               0             0           0                X                    1                1
293        X              JEFF, JUDY               Center Electric         2532722323           0                 1                  1                  1               1             0           1                X                    1                1
294                         WAYNE                Central Lock & Key        5165695305           0                 0                  0                  0               0             0           0                X                    1                1
                                                 Central Oklahoma
295                      KEITH JONES                 Winnelson             4059471934           0                 0                  0                  0               0             0           0                X                    1                1
                                              Central Piedmont Safe &
296                          GINA                       Lock               7047955560           0                 0                  0                  0               0             0           0                X                    1                1
297                          KEVIN             Central Saw Works LLC       5095354799           0                 0                  0                  0               0             0           0                X                    1                1
                                                  Centre Plumbing
298                          PETER                   Hardware              2129258998           0                 0                  0                  0               0             0           0                X                    1                1
                                              Centurion Tool & Supply
299        X             TOM MAJCEN                       Co               3035342410           0                 0                  0                  0               0             0           0                X                    1                1
                                                  Century Business
300                         SHAWN                Technologies, Inc.        6204314841           0                 0                  0                  0               0             0           0                X                    1                1
301                                                Century Labs II         2604710501           0                 0                  0                  0               0             0           0                                     0                0




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302        X               MELISSA           Chandler Equipment Sales      #VALUE!             0                 0                  1                  1               1             0           1                X                    1                1

303                          ERIC            Channell Communications      2053495747           0                 0                  0                  1               1             0           1                X                    1                1
304        X                 JEFF              Charles H. Day Co., Inc.   5032329821           1                 0                  0                  1               1             1           1                X                    1                1
                                              Charlie's Day & Nite Safe
305                         Celeste                 Lock & Key Sv         2094674810           0                 0                  0                  1               1             0           1                X                    1                1
                                                Chesterfield Service
306                                              Heating & Cooling        6365322378           0                 0                  0                  0               0             0           0                                     0                0
307                                             Chicago Jack Service      7086811900           0                 0                  0                  0               0             0           0                                     0                0
308                         CARLOS              CIMA Technologies         9157751929           0                 0                  0                  0               0             0           0                X                    1                1

309                                          CIRCLE D Lawn Equipment      9858938867           0                 0                  0                  0               0             0           0                                     0                0

310        X            ROBERT, MARIA     Circle Saw Builders Supply      7138646014           1                 0                  0                  0               1             1           1                X                    1                1
                                               City Electric Motor
311        X                 CLAY                 Company Inc.            8592530121           0                 0                  0                  0               0             1           1                X                    1                1
312                           LIZ               City Sign Service         2154421328           0                 0                  0                  0               0             0           0                X                    1                1
                                               CLARK HYDRAULIC
313                   DAVID / COLORADO            SERVICE, INC.           5013750706           0                 0                  0                  0               0             0           0                X                    1                1
314        X             JOHN, BRIAN                Clark's Tool          8164520819           0                 1                  1                  1               1             0           1                X                    1                1
315        X          Close this Location           Clark's Tool          6608264597           0                 1                  1                  1               1             0           1                X                    1                1
                                              Cleaning Equipment
316                          # NG                     Supplies            3052648430           0                 0                  0                  0               0             0           0                                     0                0
                                          Clearwater Lock & Safe Co
317                          Grant                 - Clearwater           7274465625           0                 0                  0                  1               1             0           1                X                    1                1
318                          BARB          Clive Power Equipment          5152793305           0                 0                  0                  0               0             0           0                X                    1                1
319                         ANNETTE         CMC Business Systems          4325639397           0                 0                  0                  0               0             0           0                X                    1                1
320        X           DONNA / RICHIE        CMI Equipment Corp.          7328881857           0                 0                  0                  0               0             0           0                X                    1                1
                                          CMS Industrial Equipment
321        X             JOSE, ALBERT                Company                 #N/A              0                 0                  1                  1               1             0           1                X                    1                1
322                                         CNC Machining Service         5597327393           0                 0                  0                  0               0             0           0                                     0                0
323                   DENNIS MCLOUD        Coast Safe and Lock Inc.       2514716967           0                 0                  0                  0               0             0           0                X                    1                1
                                            Coastal Tool & Supply
324                       JAMES/ LISA                  Corp               8602336295           0                 0                  0                  1               1             0           1                X                    1                1

325        X             COLTON, DON         Coeur D'Alene Power Tool     2087651818           0                 0                  0                  0               0             0           0                X                    1                1
326                         NORA               Cohen's Key Shop Inc.      2033898249           0                 0                  0                  0               0             0           0                X                    1                1
327                     DIANE, MARGIE             Coin Val Parts          7575474772           0                 0                  0                  0               0             0           0                X                    1                1
                                                 Colonial Tools &
328                        CHRISTINE                Equipment             9733768788           0                 0                  0                  0               0             0           0                X                    1                1
329        X                 ROB                 Colony Hardware          2396436554           0                 0                  1                  1               1             0           1                X                    1                1
330        X              JOSH/DAVE              Colony Hardware          3019670218           0                 0                  1                  1               1             0           1                X                    1                1

                                           Colony Hardware
331        X              FRED, Logan  Formerly: J J Hammond Co           6142285445           0                 0                  0                  0               0             0           0                X                    1                1
                                       Colorado Garage Door Svc
332                   JOHN DUNN, ALLEN             Inc                    3032926529           0                 0                  0                  0               0             1           1                X                    1                1
333                        LOUISE        Command Systems Inc              4128209134           0                 0                  0                  0               0             0           0                X                    1                1
                                             COMMERCIAL
334                                        ELECTRONICS INC                2763866615           0                 0                  0                  0               0             0           0                                     0                0
                                          Commercial Kitchen
335                                              Repair                   2107357421           0                 0                  0                  0               0             0           0                                     0                0




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336                                            Complete Copier Svc        7045357929           0                 0                  0                  0               0             0           0                                     0                0
                                                Compucal Business
337                                                  Systems              2122686952           0                 0                  0                  0               0             0           0                                     0                0
338                          RICK                  Compu-Lock             7814409903           0                 0                  0                  0               0             0           0                X                    1                1
339                    SAM, LISA, DANNY         Concord Locksmith         9256890911           0                 0                  0                  1               1             0           1                X                    1                1
                                             CONNECTIVE SYSTEMS &
340        X           GERRY OR WAYNE              SUPPLY INC             9706632012           0                 1                  0                  1               1             1           1                X                    1                1
341                                             Consignment Tools         5124442825           0                 0                  0                  0               0             0           0                                     0                0
342        X               RICK / JIM        Construction Equipment       4024740141           0                 0                  0                  0               0             0           0                X                    1                1
                                              Construction Rentals &
343        X                NANCY                     Supply              4122699168           0                 0                  0                  0               0             0           0                X                    1                1
                                               Construction Tool &
344        X                JR. TOM                   Supply              6023232810           0                 0                  1                  1               1             0           1                X                    1                1

345                         Zach             Construction tool & supply   6152424702           0                 0                  1                  1               1             0           1                X                    1                1
                       JACQUES / RALPH         CONSTRUCTION TOOL
346        X               YANEZ                   SERVICE INC            4126819185           0                 0                  0                  0               0             0           0                X                    1                1
                                             Contractors & Indl Supply
347                          ADAM                        Inc              5403458227           0                 0                  0                  0               0             0           0                X                    1                1
348        X                AARON               Contractors Choice        5138519017           0                 0                  0                  0               0             1           1                X                    1                1
                        JESSE, SHELLY Z.,      Contractors Supply Inc
349        X                JOHN Z.                —TOOL TECH             3036239483           0                 0                  0                  0               0             0           0                X                    1                1
                                              Controlled Key Systems,
350                         OMAR                        Inc.              9497561143           0                 0                  0                  1               1             0           1                X                    1                1
351                         ROGER             Cook Iron Store Co., Inc.   5853254465           0                 0                  0                  0               0             0           0                X                    1                1
                                                    Cook´s Saw
352                         MARCIE              Manufacturing, LLC        3346923704           0                 0                  0                  1               1             0           1                X                    1                1
353                          AMY               Copier Sales & Svc Inc     8036990210           0                 0                  0                  0               0             0           0                X                    1                1
354                         MATT                Copiers Etcetera Inc      4253795897           0                 0                  0                  0               0             0           0                X                    1                1
355                                                 Copiers Plus          6096451535           0                 0                  0                  0               0             0           0                                     0                0
356                         DAN K.             Cornelius Systems Inc      2485455557           0                 0                  0                  0               0             0           0                X                    1                1
                                                cornerstone tool &
357        X                 SEAN                    fasteners            8505801225           0                 0                  1                  1               1             0           1                X                    1                1
                                              COUGAR ELECTRONICS &
358        X                 JEFF                  TOOL REPAIR            7328708794           1                 1                  0                  0               1             0           1                X                    1                1
359                         GRACIE                 Cowart Door            5124597469           0                 0                  0                  0               0             0           0                X                    1                1
360                         ALECIA              Cozzini Brothers Inc      4078882257           0                 0                  0                  0               0             0           0                X                    1                1

361                         NANCY            Crawford's SAW & Tool Inc 8648775879              0                 0                  0                  0               0             0           0                X                    1                1
362                          MAY                Crc Inc Of Louisiana   2252734512              0                 0                  0                  0               0             0           0                X                    1                1
                                                Creative Awnings &
363                          JULIE                 Shelters, Inc.      5419883502              0                 0                  0                  0               0             0           0                X                    1                1

364                         CURTIS           CROSSCOM NATIONAL LLC        8475209540           0                 0                  0                  0               0             0           0                X                    1                1
                                               Cunningham Overhead
365                                                    Door               5028975793           0                 0                  0                  0               0             0           0                                     0                0
366                      REPAIR DEPT.         Current Office Solutions.   4196369222           0                 0                  0                  0               0             0           0                X                    1                1
367                         TODD              CURT’S LOCK & KEY SVC       7012329446           0                 0                  0                  0               0             0           0                X                    1                1
368                                              CW Copier Service        9107914480           0                 0                  0                  0               0             0           0                                     0                0

369        X                ANDY              D & D Tool & Supplies       6192769199           0                 0                  0                  0               0             0           0                X                    1                1
370        X          Permanently Closed       D & S Repair Service       7036836719           0                 0                  0                  0               0             0           0                                     0                0
371                        AHMED             D C Martin & Sons Scales     6164514407           0                 0                  0                  0               0             0           0                X                    1                1




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372                         CASSIE              D J Fastener Supply        2187227842           0                 0                  0                  0               0             0           0                X                    1                1
373        X                ANDY               D&D Tool and Supply         7605109677           0                 0                  0                  0               0             0           0                X                    1                1
                                              Dacorta Bros Hardware
374                                                 Incorporated           7188981756           0                 0                  0                  0               0             0           0                                     0                0
375                         RAFAEL               Dade Lock & Key           3056661015           0                 0                  0                  1               1             0           1                X                    1                1
376                                           Dakota Fluid Power Inc       6053320988           0                 0                  0                  0               0             0           0                                     0                0
377                                            Dakota Hydra-power          7016630223           0                 0                  0                  0               0             0           0                                     0                0
                                                  DAVE & HARRY
378                          CHUCK                  LOCKSMITHS             2173523505           0                 0                  0                  0               0             0           0                X                    1                1
379        X                   DON              Dave's Tool Repair         5419235431           0                 0                  0                  0               0             0           0                X                    1                1
380                        MR. DAVIS          Davis Appliance Repair       8036489407           0                 0                  0                  0               0             0           0                X                    1                1
381        X                  JOAN               DAVIS TOOL CO.            7145490362           0                 0                  0                  0               0             1           1                X                    1                1
382                           JOHN             Davison Tool Svc Inc        8106536138           0                 0                  0                  0               0             0           0                X                    1                1
383                         TERRESA           Dawson Safe and Lock         2812920911           0                 0                  0                  0               0             0           0                X                    1                1
384                            BILL             Day and Nite Doors         7149611140           0                 0                  0                  0               0             0           0                X                    1                1
385                            JIM              DAYTON TOOL CRIB           9372339516           0                 0                  0                  0               0             0           0                X                    1                1
386                          ASHLEY              Dbk Concepts Inc          3055967222           0                 0                  0                  1               1             0           1                X                    1                1
387        X              Josh, OSCAR          DC Battery Specialists      3057583469           0                 0                  0                  0               0             0           0                X                    1                1

388        X                CEASAR           De Walt Industrial Tool Co    9198780915           0                 0                  0                  0               0             0           0                X                    1                1

389        X                  JIM            De Walt Industrial Tool Co    4146454287           0                 0                  0                  0               0             0           0                X                    1                1
                                             Dedge’s Lock & Key Shop,
390                           JOE                       Inc                9043891329           0                 0                  0                  1               1             0           1                X                    1                1

391                        DWIGHT            Delco Tools & Equipment       4052358667           0                 0                  0                  0               0             0           0                X                    1                1
392                          MIKE                Delegard Tool Co.         7136884398           0                 0                  0                  0               0             0           0                X                    1                1
393                         RYAN              Delegard Tool Company        9528845030           0                 0                  0                  0               0             0           0                X                    1                1
394                     IAN ENG. DEPT         DELTROL Fuid Products        3144273502           0                 0                  0                  0               0             0           0                X                    1                1
395                        SHERRY             Desco Manufacturing Co       9498589141           0                 0                  0                  1               1             0           1                X                    1                1
                                             Desert Scales & Weighing
396                          GARY                    Equipment             6022757582           0                 0                  0                  0               0             0           0                X                    1                1
                                             Detroit Jack & Tool Service
397        X                   TY                        Inc.              3138670033           0                 0                  0                  0               0             0           0                X                    1                1
398        X                 FABIO                     DeWalt              9543216638           0                 0                  0                  0               0             0           0                X                    1                1
399        X                                          DEWALT               5152769434           0                 0                  0                  0               0             0           0                                     0                0
400        X                  EY                       DeWalt              4408843430           0                 0                  0                  0               0             0           0                X                    1                1
401        X                                           DeWalt              6152428336           0                 0                  0                  0               0             0           0                                     0                0
                                               DeWalt / Porter Cable
402        X                BRIAN                      Service             7028896030           0                 0                  0                  0               0             0           0                X                    1                1
403        X                SEAN               DEWALT FACTORY SVC          7573637512           0                 0                  0                  0               0             0           0                X                    1                1
                                               DeWalt Industiral Tool
404                                                   Company              6024372200           0                 0                  0                  0               0             0           0                                     0                0

405        X                CHRISTY          DeWalt Industrial Tool Co     6162610432           0                 0                  0                  0               0             0           0                X                    1                1
                                               DEWALT INDUSTRIAL
406        X             MIKE SHULTZ                TOOL CO                9182498676           0                 0                  0                  0               0             0           0                X                    1                1

407        X                 STEVE           DeWalt Industrial Tool Co     3043430715           0                 0                  0                  0               0             0           0                X                    1                1
                                              DeWalt Industrial Tool
408        X                CARLOS                  Company                2014753526           0                 0                  1                  1               1             0           1                X                    1                1
                                              DeWalt Industrial Tool
409        X                 Diego                  Company                8014865848           0                 0                  1                  1               1             0           1                X                    1                1




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                                                DeWalt Porter Cable
410        X              ARMANDO                     Service             2067631948           0                 0                  1                  0               1             0           1                X                    1                1
411        X                                  DeWalt Service Center       2516021100           0                 0                  1                  1               1             0           1                X                    1                1
412        X                                   Dewalt service center      2485975004           0                 0                  1                  1               1             0           1                                     0                1
413        X               Harry               Dewalt Service Center      7187798810           0                 0                  1                  1               1             0           1                X                    1                1
414        X              RHONDA              DeWalt Service Center       5137720654           0                 0                  1                  1               1             0           1                X                    1                1
415        X            HENRY / WADE           Dewalt Service Center      2107326147           0                 0                  1                  1               1             0           1                X                    1                1
                                                 DEWALT SERVICE
416        X                CHUCK                    CENTERS              9134954378           0                 0                  1                  1               1             0           1                X                    1                1
                                             DeWalt/Portercable/Delta
417        X               Kenneth                      Svc                  #N/A              0                 0                  1                  1               1             0           1                X                    1                1
418                     Madeline/ Emily             Dex Imaging           9549810745           0                 0                  0                  1               1             0           1                X                    1                1
419                                                DGM Controls           2062845243           0                 0                  0                  0               0             0           0                                     0                0
                                             Diamond Electric Motor &
420        X                  JILL                      Tool              8014847541           0                 1                  1                  0               1             1           1                X                    1                1
421                                           Diamond Knife & Shear       2106500039           0                 0                  0                  0               0             0           0                                     0                0
422                                              Diamond Lock Svc         8045411102           0                 0                  0                  0               0             0           0                                     0                0
423                         Danny                Dib's Safe & Lock        9098851933           0                 0                  0                  1               1             0           1                X                    1                1

424                          JEAN               Dick Kearsley Svc Ctr     8017731835           0                 0                  0                  0               0             0           0                X                    1                1
425                                                   Diebold             3304905794           0                 0                  0                  0               0             0           0                                     0                0
                                                  Diesel Electrical
                                               Equipment Co - Susan
                                              Pappas Gregroy, Martha
426                                                   Simpson             2199221849           0                 0                  0                  0               0             0           0                                     0                0

427                          Allen           DIGITAL IMAGING SVC INC      9417211932           0                 0                  0                  0               0             0           0                X                    1                1
428        X                   X              Direct Tools & Fasteners    8185007358           0                 0                  1                  1               1             0           1                X                    1                1
                                              DIVERSIFIED HOME SVC
429                                                      INC              3304781424           0                 0                  0                  0               0             0           0                                     0                0
                                                 Dixie Construction
430                          MIKE                     Products            4043502359           0                 0                  0                  1               1             0           1                X                    1                1
431                       FRONT DESK           Dixie Lock/Safe Servie     7136433243           0                 0                  0                  0               0             0           0                X                    1                1
432                                                DLOW REPAIRS           6362941567           0                 0                  0                  0               0             0           0                                     0                0
433        X               Winston             DMH Industrial Electric       #N/A              0                 1                  0                  0               1             0           1                X                    1                1
                                                Doc's Electric Motor
434        X            BECKY / JAMES                  Repair                #N/A              0                 1                  1                  1               1             0           1                X                    1                1
435                         DEAN                  Dolphin Machine         7026421006           0                 0                  0                  0               0             0           0                X                    1                1
436                         CHRIS               Domen Lawnmower           7145276603           0                 0                  0                  1               1             0           1                X                    1                1
437        X                VICKY               Door Control Svc Inc      9038331020           0                 0                  1                  1               1             0           1                X                    1                1
438                    JOHNNY, MIGUEL                Door-Man             6194747413           0                 0                  0                  1               1             0           1                X                    1                1

439                          NG#                   DOS Imaging            9413557857           0                 0                  0                  0               0             0           0                                     0                0
440                        HEATHER            Doug's Appliance Service    9107383115           0                 0                  0                  0               0             0           0                X                    1                1
                                              Dover Flexo Electronics,
441                        GLEN                         Inc.              6033323758           0                 0                  0                  0               0             0           0                X                    1                1
442                      MR. DOWNS            DOWNS Safe & Lock Co.       4048734581           0                 0                  0                  0               0             0           0                X                    1                1
                                             Dre Bo America Inc - Coal
443                         JACKIE                     Center             7249380692           0                 0                  0                  0               0             0           0                X                    1                1
444                                                   DTE INC.            4195223568           0                 0                  0                  0               0             0           0                                     0                0
                                             Du Page Security Solutions
445                       OK TO FAX                     Inc               6305307935           0                 0                  0                  0               0             0           0                X                    1                1
446                    JEFF HAMMAKER                  Duotech             8283695412           0                 0                  0                  0               0             0           0                X                    1                1




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447        X              C. Rodriguez        Duran York Hydraulic Sv     2102245250           0                 0                  0                  0               0             1           1                X                    1                1
448                          Randy             Duthie Power Service       5627908230           0                 0                  0                  1               1             0           1                X                    1                1
449                                            Dynamic Fastener Svc       8163589899           0                 0                  0                  0               0             0           0                                     0                0
450                          LOUIE           DYNAMITE TOOL CO INC         6315638928           0                 0                  0                  0               0             0           0                X                    1                1
451                                          Dynatech Electronics Inc     6065737466           0                 0                  0                  0               0             0           0                                     0                0
452                          TYLER            Dyna-Tech Generators        7172748934           0                 0                  0                  0               0             0           0                X                    1                1
                                                E T Industrial Supply
453                                                Company, Inc.          7067711982           0                 0                  0                  0               0             0           0                                     0                0
                                             E/c Vibration & Balancing
454                         GRACE                        Svc              8473528231           0                 0                  0                  0               0             0           0                X                    1                1
                                             East Cooper Lock & Safe
455                         JAMES                        Inc              8438841151           0                 0                  0                  0               0             0           0                X                    1                1
                                               East Tennessee Scale
456                                                    Works              8659868309           0                 0                  0                  0               0             0           0                                     0                0
457                         TOM                  Eastern Industrial       5167393205           0                 0                  0                  0               0             0           0                X                    1                1
458                      REPAIR DEPT.         Eastland Industries Inc     7085479059           0                 0                  0                  0               0             0           0                X                    1                1
459        X             MIKE, SUSAN                Eastside Saw          4254546735           0                 0                  1                  0               1             1           1                X                    1                1
460                        AMANDA            Eastway Lock & Key, Inc.     7043470596           0                 0                  0                  0               0             0           0                X                    1                1
461                         MARK                        EBN               8124790100           0                 0                  0                  0               0             0           0                X                    1                1

462        X              Kerry Page         Edge Construction Supply     2085295456           0                 0                  0                  0               0             1           1                X                    1                1

463        X             Kerry Page         Edge Construction Supply      2067649487           0                 0                  0                  0               0             1           1                X                    1                1
464        X            DANIEL / GABE        EDMOND TOOL REPAIR           4057528360           0                 0                  1                  1               1             0           1                X                    1                1
465                                                   EEU Inc             9122334355           0                 0                  0                  0               0             0           0                                     0                0
466        X          Wali Butt, Lisa Smith      EIS INC- Vendor           #VALUE!             0                 0                  0                  0               0             0           0                X                    1                1
467        X            JANETTE, JOE            Electric Motor Co            #N/A              0                 1                  1                  0               1             1           1                X                    1                1
468        X           CATHY, SARAH H         Electric Motor Service      2102268228           0                 1                  1                  1               1             1           1                X                    1                1
                                              Electric Motor Svc Of
469        X                SHELBY                     Shelby             7044820904           0                 0                  0                  0               0             0           0                X                    1                1

470        X             DORIS / SCOTT       electric panda sales corp.   6173896823           0                 0                  1                  1               1             0           1                X                    1                1

471        X                LARRY            Electric Tool & Svc Co Inc   3133661855           0                 0                  0                  0               0             1           1                X                    1                1
                                                Electrical Equipment
472        X           JEFF / MATTHEW                   Repair            2706847709           0                 0                  1                  1               1             0           1                X                    1                1
                                                 Electrical Testing &
473                                              Maintenance Corp.        9015661605           0                 0                  0                  0               0             0           0                                     0                0
474                         SCOTT               Electrical Testing Inc    7062369028           0                 0                  0                  0               0             0           0                X                    1                1
475                                             Electro Lab Services      8124213689           0                 0                  0                  0               0             0           0                                     0                0
                                                  Electro Tech, Inc.
                                             Previously Electric Motors
476        X                                          Unlimited           6082715152           0                 0                  1                  0               1             0           1                                     0                1
                                                Electronic Balancing
477        X                SUSAN                     Company             3108302447           0                 0                  1                  0               1             1           1                X                    1                1
                                             Electronic Office Systems
478                                                       Inc             8163587119           0                 0                  0                  0               0             0           0                                     0                0
479        X                                   Electronic Services Inc    5044362599           0                 0                  0                  0               0             0           0                X                    1                1
480                                            Electronic Systems Inc     7574972095           0                 0                  0                  0               0             0           0                                     0                0

481                         DANNY            Electronics Repair Center    4345255226           0                 0                  0                  0               0             0           0                X                    1                1
                                             Elmer & Son Locksmiths -
482                         HARVEY                     Steger             7087555283           0                 0                  0                  0               0             0           0                X                    1                1




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483                                           Emc Electro Mechanical       2067678294           0                 0                  0                  0               0             0           0                                     0                0
                        TONY /PEGGY /
484                        JOCELYN             Empire Hydraulic Svc        4806334719           0                 0                  0                  1               1             0           1                X                    1                1
485                      STEVE, PAUL               Empire Mowers           9516976687           0                 0                  0                  1               1             0           1                X                    1                1
486                        LORENA             Enforcement Electronics      8636443325           0                 0                  0                  1               1             0           1                X                    1                1
487                                           Engine Service & Supply      4323370181           0                 0                  0                  0               0             0           0                                     0                0
                                                 Engineered Tooling
488                         ROBIN                    Systems Inc,          6167352252           0                 0                  0                  0               0             0           0                X                    1                1
489                      CINDY, JIMMY              Ensco Supply Co         3362927162           0                 0                  0                  0               0             0           0                X                    1                1
                                             Environmental Protection
490                          BRAD                         SV               3042321599           0                 0                  0                  0               0             0           0                X                    1                1
                                              Eric's Industrial Supplies
491                        ROY, Vicky                     Inc               #VALUE!             0                 0                  0                  0               0             0           0                X                    1                1

492        X          KEVIN, ERNIE, Nathan Ernie's Tool & Specialty        9048296111           0                 0                  1                  1               1             0           1                X                    1                1
493        X               GLENN, SKY      Escambia Electric Motor          #VALUE!             0                 0                  1                  1               1             0           1                X                    1                1
494                          Tammy                  ESCO                   8138551649           0                 0                  0                  1               1             0           1                X                    1                1
495                     OK TO FAX RECP     ETNA SUPPLY COMPANY             6162414786           0                 0                  0                  0               0             0           0                X                    1                1
496        X            HEATHER, JULIE         Eurton Electric             5629460014           0                 0                  0                  0               0             0           0                X                    1                1
                                            Evergreen Marketing
497                         SUMMER                  Group                  7818992482           0                 0                  0                  0               0             0           0                X                    1                1
498                           TRISH         expo service insuance          9783675700           0                 0                  0                  0               0             0           0                X                    1                1
                         MISSY / STEVE
499        X                 HALLER              F&M Mafco                 5133670363           0                 0                  1                  1               1             0           1                X                    1                1
                                            FARMINGTON SAFE &
500                       FRONT DESK               LOCK CO                 5053270659           0                 0                  0                  0               0             0           0                X                    1                1
501                                              Fast Frame                6304437256           0                 0                  0                  0               0             0           0                                     0                0
502                          GRANT           Fastco of Charlotte           7045252319           0                 0                  0                  0               0             0           0                X                    1                1
503                       FRONT DESK               Fastenal                7166842294           0                 0                  1                  1               1             0           1                X                    1                1
504        X              CODY, Sarah              Fastenal                4403654956           0                 0                  1                  1               1             0           1                X                    1                1
                        ANGIE, RACHEL,
                        TERESA, PHILLIP,
505        X                MICHAEL                Fastenal                3307455011           0                 0                  1                  1               1             0           1                X                    1                1
506        X              LAURA, Ryan              Fastenal                7153445453           0                 0                  1                  1               1             0           1                X                    1                1
507                           ZACK              Fastener's Inc             2485829033           0                 0                  0                  0               0             0           0                X                    1                1
508                         MONTELL               Fastframe                8187843299           0                 0                  0                  1               1             0           1                X                    1                1

509                          # NG             Fax Chance Network, Inc.     4076581510           0                 0                  0                  0               0             0           0                                     0                0
510                        VALERIE              FEDERAL EQUIPMENT          6314678249           0                 0                  0                  0               0             0           0                X                    1                1
511                        EVONNA              Federal Lock & Safe Inc     7035251637           0                 0                  0                  0               0             0           0                X                    1                1
                                             FELTS LOCK & ALARM CO.,
512                          TONY                         INC.             8124772690           0                 0                  0                  0               0             0           0                X                    1                1
                                                 Fenton Sew-N-Vac &
513                         DORTHY                 Janitorial Suplly       6363430609           0                 0                  0                  0               0             0           0                X                    1                1
514                         ROBERT                  Fibrenetics Inc.       7326366624           0                 0                  0                  0               0             0           0                X                    1                1
515                                             Fiduk's Industrial Svc     3029949176           0                 0                  0                  0               0             0           0                                     0                0
516                          LINDA              Fitzgerald Equipment       8153977357           0                 0                  0                  0               0             0           0                X                    1                1
                                             FIVE BORO PNEU-TRONICS
517                          MIKE                         INC.             7183388914           0                 0                  0                  0               0             0           0                X                    1                1
                                                     Flag Service &
518                         NATALIE                Maintenance Inc         8568454387           0                 0                  0                  0               0             0           0                X                    1                1
519        X                                      Flannigan Electric       6013558770           0                 0                  0                  0               0             0           0                                     0                0
520                     PAUL ROMANO                Fleetwood Lock          9142371171           0                 0                  0                  0               0             0           0                X                    1                1




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521                          JOAN               Flemington Fur Co.         9087820378           0                 0                  0                  0               0             0           0                X                    1                1

522                        Jeff, Patty       Florida Industrial Scale Co   4078310653           0                 0                  0                  1               1             0           1                X                    1                1
                                             FLORIDA TRANSFORMER,
523                      ANNA JONES                      INC               8508926428           0                 0                  0                  1               1             0           1                X                    1                1
                                                Flushing Lock & Key
524                            AL                      Service             7185236041           0                 0                  0                  0               0             0           0                X                    1                1
                                             Formally BERNIE'S TOOL &
                                              FASTENERS now Colony
525        X           JUNIOR RUCKMAN                 Hardware             3523751408           0                 0                  0                  0               0             0           0                X                    1                1
526                                                    Formax              6037436366           0                 0                  0                  0               0             0           0                                     0                0

                                             Formerly: Allied Fastener
                                                     & Tool Inc
527                         Caesar           Present: Colony Hardware       #VALUE!             0                 0                  0                  0               0             0           0                X                    1                1
                                               Formerly: BC Carbide
528        X             CLAUDIA, Lilly       Current:Stellar Industrial   9099468069           0                 0                  0                  0               0             0           0                X                    1                1

                                              Formerly: Bernie's Tool &
                                                     Fastener Svc
529        X              Junior, Lisa       Present: Colony Hardware        #N/A               0                 0                  0                  0               0             0           0                X                    1                1
                                               Formerly: Bobcat West
                                              Construction Equip Now:
530                     BRENDA, Justin         Pape Material Handling      5106615706           0                 0                  0                  1               1             0           1                X                    1                1
                                                Formerly: Carbide Saw
                                             Current: California Carbide
531                            Ed                         Inc.             8056445178           0                 0                  0                  1               1             0           1                X                    1                1
                                                  Formerly: Heusser
                                                 Neweigh Metrology
                                                       Services
                                              Now: Rice Lake Weighing
532                      Beck Morgan                   systems              #VALUE!             0                 0                  0                  0               0             0           0                X                    1                1
                                               Formerly: Scalemasters
                                               Inc Now: USA Weighing
533                         Nancy                      Systems              #VALUE!             0                 0                  0                  1               1             0           1                X                    1                1
534        X            STEVE, SHERRY             Foss Industries Inc      7195907917           0                 0                  1                  1               1             0           1                X                    1                1
535                     NOT IN SERVICE         Foxboro Tool Repair Inc     5085433914           0                 0                  0                  0               0             0           0                                     0                0
                                               Framer's Workshop -No
536 Out of Business          CHRIS                Longer in Business       4809459986           0                 0                  0                  0               0             0           0                X                    1                1
537        X            SAL (DECEASED)           Franco Power Tools        5626939521           0                 0                  0                  0               0             0           0                                     0                0
538                           J.R.              Fred M Velepec Co Inc      7188215874           0                 0                  0                  0               0             0           0                X                    1                1
539                          RENEE                Freebird Glass Inc.      2812562722           0                 0                  0                  0               0             0           0                X                    1                1
540                       STEPHANIE            Freeman Electronics Inc     3368548004           0                 0                  0                  0               0             0           0                X                    1                1
541                      FRONT DESK                     Fuelcell           7819356966           0                 0                  0                  0               0             0           0                X                    1                1

542                          ESTER           Fuller's Alamo Safe & Lock    2103660723           0                 0                  0                  0               0             0           0                X                    1                1
                                              Fulton Communications
543                                                      Co                7704463330           0                 0                  0                  0               0             0           0                                     0                0
544                      GENTLEMAN                G & H Service Co         6102727305           0                 0                  0                  0               0             0           0                X                    1                1
545                         GARY                  G & L Locksmiths         4409740500           0                 0                  0                  0               0             0           0                X                    1                1

546                          JONI            Gainey Sharpening Service 3308324246               0                 0                  0                  0               0             0           0                X                    1                1
547                                           Gap Power Equipment      7174424859               0                 0                  0                  0               0             0           0                                     0                0
548                         GRACE                  Garcom, Inc.        9157750222               0                 0                  0                  0               0             0           0                X                    1                1




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                                               Gardner Marsh Gas
549                          BECKY              Equipment Co Inc          9197825133           0                 0                  0                  0               0             0           0                X                    1                1
550                        ANDREW                Gary Taylor Inc          2024839512           0                 0                  0                  1               1             0           1                X                    1                1
551                          PATTY             Gary's Repair Shop         5017246659           0                 0                  0                  1               1             0           1                X                    1                1
552                           TIM                Gas and Supply           5043664533           0                 0                  0                  0               0             0           0                X                    1                1
553                       # NO GOOD              Gateway Telnet           8183747011           0                 0                  0                  0               0             0           0                                     0                0
554                          SAUL            Gear Driven Automotive       8186786500           0                 0                  0                  0               0             0           0                X                    1                1

555                                          Gemini Technical Services    6032252010           0                 0                  0                  0               0             0           0                                     0                0
556                          RECP.              General Hydraulics        3142417723           0                 0                  0                  0               0             0           0                X                    1                1
                                              General Motor Repair &
557        X                QUINN                   Service Inc           3362921027           0                 0                  0                  0               0             1           1                X                    1                1
                                             General Servo & Spindle
558        X          JESSICA /VERONICA               Motors              6308899262           0                 0                  0                  0               0             0           0                X                    1                1

559                         SCOTT            General Tool & Supply Co     5037785518           0                 0                  0                  0               0             0           0                X                    1                1
560                                           Generator Services Inc      8164780629           0                 0                  0                  0               0             0           0                                     0                0
561                     DAVID/TAMMY                 Gen-Tech              6239370408           0                 0                  0                  1               1             0           1                X                    1                1
562                         BILL              GEN-TECH OF NEVADA          7026335960           0                 0                  0                  0               0             0           0                X                    1                1


563                       OK TO FAX          Gerhart Measuremmation       6102665775           0                 0                  0                  0               0             0           0                X                    1                1
564                      # NO GOOD              Gerhart Scale Corp        7325259610           0                 0                  0                  0               0             0           0                                     0                0
565        X          STEVE, KEITH, Sarah     GEZON TOOL SERVICE          6164512728           0                 0                  1                  1               1             0           1                X                    1                1
                                              Gima Appliance Service
566                                                    Inc.               8088457555           0                 0                  0                  0               0             0           0                                     0                0
567                         RENEE                 Glass Source            7635452894           0                 0                  0                  0               0             0           0                X                    1                1
568        X                 JEFF             GLENN'S TOOL SERVICE        6029563787           0                 0                  0                  0               0             1           1                X                    1                1
                                              Glens Key Lock & Safe
569                         TADDA                   Company               8013553414           0                 0                  0                  0               0             0           0                X                    1                1
                                                  Global bolting
570                    JARED, TIM HERT            technologies            4062481121           0                 0                  0                  1               1             0           1                X                    1                1

571        X               MICHELLE          Global Electronics Service   7709651314           0                 0                  1                  1               1             0           1                X                    1                1

572                                          GM TECHNICAL SERVICES        9495886023           0                 0                  0                  0               0             0           0                                     0                0
573                         GUS                     GMENI Inc             2708988498           0                 0                  0                  0               0             0           0                X                    1                1
574                      ANDREW, JIM            Godby Safe & Lock         5615406005           0                 0                  0                  1               1             0           1                X                    1                1
575                       MARYANN              Godwin & Son Signs         9564233914           0                 0                  0                  0               0             0           0                X                    1                1
                                                 Gogel Fasteners
576                         STEVE             &Industrial Supply Co.      4192439696           0                 0                  0                  0               0             0           0                X                    1                1
577                        CONNIE               Golden Needle Inc.        5733397090           0                 0                  0                  0               0             0           0                X                    1                1
578                    ROBERT GOLDENS        Goldens Casa Linda Keys      2143243737           0                 0                  0                  0               0             0           0                X                    1                1
                                             Goodstrong Lock & Alarm
579                      #s NO GOOD                      Co               5162943969           0                 0                  0                  0               0             0           0                                     0                0
                                               Grabber construction
580        X              DOUG, IZZY                 products             9256876261           0                 0                  1                  0               1             0           1                X                    1                1
581                        NANCY              Grand Blanc Industries      8106947100           0                 0                  0                  0               0             0           0                X                    1                1
582                                                Grand Frame            8472539411           0                 0                  0                  0               0             0           0                                     0                0
                                             Granite City Tool Co Of Vt
583        X                JAMEY                   Inc - Barre           8024768403           0                 0                  0                  0               0             0           0                X                    1                1
584                          JOHN              Granite Lock Co., Inc.     6174793341           0                 0                  0                  0               0             0           0                X                    1                1




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                                              Great Lakes Rubber Co.,
585                         HELEN                       Inc.              2486244770           0                 0                  0                  0               0             0           0                X                    1                1
586                        CHRIS JR.          Great Valley Lock Shop      6108893837           0                 0                  0                  0               0             0           0                X                    1                1

587        X             KENNY, ERIN         Greeley Electric Repair, Inc 9703525536           0                 0                  1                  0               1             1           1                X                    1                1
588                         APRIL             Green Valley Lock & Safe 7028976500              0                 0                  0                  1               1             0           1                X                    1                1
                                                 Greene's Business
589                          STEVE                 Machines, Inc.         2059795533           0                 0                  0                  0               0             0           0                X                    1                1

590                          LACY            Greentree Supply Co., Inc.   3362723567           0                 0                  0                  0               0             0           0                X                    1                1
591                           JIM            Grott's Locksmith Ctr Inc    8592253484           0                 0                  0                  0               0             0           0                X                    1                1

592                        DELVIN            Guilford Locksmithing Inc    3362974195           0                 0                  0                  0               0             0           0                X                    1                1
593        X                EARL                 Gustin Hydraulics        8014664871           0                 0                  0                  0               0             1           1                X                    1                1
594        X               TAMMY                 H & H Hydraulics         4233326868           0                 0                  0                  0               0             0           0                X                    1                1
595                         GREG              H & H Lock & Security       3019485265           0                 0                  0                  0               0             0           0                X                    1                1
596        X                STEVE             H & H Tool Service, Inc.    7136828624           0                 0                  0                  0               0             1           1                X                    1                1
597        X           DAVID / HOWARD             H K & W SUPPLY          4178691734           0                 0                  1                  1               1             0           1                X                    1                1
598                          ROY                 H K McJunkin; Inc        4122710279           0                 0                  0                  0               0             0           0                X                    1                1
599                         DALE                      HAJOCA              8042304212           0                 0                  0                  0               0             0           0                X                    1                1
                                              HAMILTON APPLIANCE
600                      #s NO GOOD                   REPAIR              5416890242           0                 0                  0                  0               0             0           0                                     0                0
                                                  Hampton Roads
                                                  Communication
601                       VICTORIA                 Technologies           7573973405           0                 0                  0                  0               0             0           0                X                    1                1
602                    CHUCK HANCOCK             Hancock Tool Co.         9528900058           0                 0                  0                  0               0             0           0                X                    1                1
603        X             ANNA, Jenna             Hanes Supply Inc         5852350229           0                 0                  1                  1               1             0           1                X                    1                1
604                                                 Hang It Inc.          6128711845           0                 0                  0                  0               0             0           0                                     0                0
605        X                 WILL              Harbor Freight Tools       8063425399           0                 0                  0                  0               0             0           0                X                    1                1
                                             Harbor Freight Tools USA
606                     DOGA / SIMON                    Inc               5015626461           0                 0                  0                  0               0             0           0                X                    1                1
607                         DAVID                   Harnessland           7136882583           0                 0                  0                  0               0             0           0                X                    1                1
                        BELINDA /PAUL,
608        X                BRIAN                 Hatten Electric            #N/A              0                 1                  1                  1               1             0           1                X                    1                1
609                    CAWNY (CONNIE)          Hayes Instrument Svc       9786633812           0                 0                  0                  0               0             0           0                X                    1                1
610                                             Hearcare Audiology        2604866958           0                 0                  0                  0               0             0           0                                     0                0
611                    Jeanette/Corinnea         Hearth & Home            3606757292           0                 0                  0                  0               0             0           0                X                    1                1
612                                           Heartland Services Inc      9136858555           0                 0                  0                  0               0             0           0                                     0                0
613                                           Heartland Services, Inc.    8478888940           0                 0                  0                  0               0             0           0                                     0                0
                                             HEATH SALES & SERVICE,
614        X                 ROB                       INC.               8164213770           0                 0                  0                  0               0             0           0                X                    1                1
                                             Heavy Duty Tools Inc - St
615                         TOMMY                      Louis              3146450878           0                 0                  0                  0               0             0           0                X                    1                1
                                                Heavy Maintenance
616                     DUSTIN / HALIE              Supply, Inc.          2053845283           0                 0                  0                  1               1             0           1                X                    1                1

617                                           Heights Crating Co Inc      7136979224           0                 0                  0                  0               0             0           0                                     0                0
618        X                 BRAD              Hellgate Tool Repair       4067210067           0                 0                  0                  0               0             1           1                X                    1                1
619                                           Hembree Machine Inc         2563505809           0                 0                  0                  0               0             0           0                                     0                0
620        X                 TOM              HEMET VALLEY TOOLS          9516544054           1                 0                  0                  0               1             1           1                X                    1                1
                                              Heyman's Safe, Lock &
621                        CALEB                     Security             5417476738           0                 0                  0                  0               0             0           0                X                    1                1
622                   KAREN HUNT, BRAD           HI Strength Bolt         3032874227           0                 0                  0                  0               0             0           0                X                    1                1




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623                          GALE            Hickory Saw and Tool, Inc     8283245588           0                 0                  0                  0               0             0           0                X                    1                1
                                               Hill & Ferencz Electric
624                          JUNE                      Motor               9195800107           0                 0                  0                  0               0             0           0                X                    1                1

625                         ERNEST           Hill Country Electric Supply 8308961280            0                 0                  0                  0               0             0           0                X                    1                1
626                                                    Hobart             5592372441            0                 0                  0                  0               0             0           0                                     0                0
627        X           ELLEN / HEATHER            Hobart Sales & Svc      8149461590            0                 0                  1                  1               1             0           1                X                    1                1
                       DARLENE,CHUCK,
628        X               DARREL              Holland Industrial Svc      2519374657           0                 0                  0                  1               1             0           1                X                    1                1
                                                 HOLLINGSHEAD
629                          ROB                    AVIATION!              6154595995           0                 0                  0                  0               0             0           0                X                    1                1
630                         AARON                Holz Tool Supply          6182424679           0                 0                  0                  0               0             0           0                X                    1                1
631                          JIM              Home Energy Products         6035282503           0                 0                  0                  0               0             0           0                X                    1                1
                                              Hosse & Hosse Safe and
632                         TRAVIS                Lock Company             6152262488           0                 0                  0                  0               0             0           0                X                    1                1
633                         DAVID               Household Service          4194727654           0                 0                  0                  0               0             0           0                X                    1                1
634        X                 BARB                   HPS Electric              #N/A              0                 1                  1                  1               1             0           1                X                    1                1
635                                             Huber Locksmiths           6096412222           0                 0                  0                  0               0             0           0                                     0                0
636        X             JACK / LOUIS          Hudson Saw and Tool         5417722241           0                 0                  1                  1               1             0           1                X                    1                1
                                             Hudson-Payne Electronics
637                    GLENDA NEWMAN                   Corp                4348478812           0                 0                  0                  0               0             0           0                X                    1                1
                                                Huffman Security
638                        GEORGE                  Company, Inc.           6362960844           0                 0                  0                  0               0             0           0                X                    1                1
639        X               RICHARD             Hughe's Tool Supply         8139492153           0                 0                  1                  1               1             0           1                X                    1                1
                                              Hugo's Locksmithing &
640                         JAMES                    Keys Inc.             9896848497           0                 0                  0                  0               0             0           0                X                    1                1
641        X                 CODY              Humboldt Fasteners          7078261851           0                 0                  0                  0               0             1           1                X                    1                1
                                             HUNTERDON LOCK & SAFE
642                                                     INC                9087828168           0                 0                  0                  0               0             0           0                                     0                0
643                      Seana, Chad          Hupp/Powerlift Division      5159658165           0                 0                  0                  1               1             0           1                X                    1                1
644                                                 Hydra Quip             5152652441           0                 0                  0                  0               0             0           0                                     0                0
                                              Hydraulic & Machining
645                       AMBER                  Sales & Services          4103555302           0                 0                  0                  0               0             0           0                X                    1                1
                        MARK BEAVER,
646                       STACEY             Hydraulic Energy (MFCP)       3033335008           0                 0                  0                  0               0             0           0                X                    1                1
                                               Hydraulic Engineered
                                              Products & Service Co.,
647                          DON                        Inc.               7043740029           0                 0                  0                  0               0             0           0                X                    1                1
648        X          TELLICIA, CRAYDEN      Hydraulic Equipment Svc        #VALUE!             0                 0                  0                  0               0             0           0                X                    1                1

649        X                LARRY            Hydraulic Service & Supply 2147487340              0                 0                  0                  0               0             0           0                X                    1                1
                                                 Hydraulic Service
650        X                DAVID                 Company, Inc.         7574874381              0                 0                  0                  0               0             1           1                X                    1                1

651        X          DARRYL / HOWARD        HYDRAULIC SERVICE INC.        4104671019           0                 0                  0                  0               0             0           0                X                    1                1

652        X            DAVID, DEBBIE        Hydraulic Technical Svc Inc   5414850211           0                 0                  0                  0               0             0           0                X                    1                1
653                        TIFFANY                 Hyster Sales            2095265473           0                 0                  0                  1               1             0           1                X                    1                1
654                        CECILIA              HYSTER SALES CO.           6613935636           0                 0                  0                  0               0             0           0                X                    1                1
655                         RENEE              Hytec Dealer Svc Inc        4072974310           0                 0                  0                  0               0             0           0                X                    1                1
                          BOB, RAY,
656        X             ERIC,CHUCK           Idaho Tool & Equipment       2084674757           0                 0                  1                  1               1             0           1                X                    1                1




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657        X                  X                IDEAL SAW WORKS             5592378879           1                 0                  0                  0               1             1           1                X                    1                1
658        X               JASON                Ideal Tool Repair          2154409786           0                 0                  0                  0               0             0           0                X                    1                1
659                        JIMMY             IDG BORING-SMITH DIV          9516830822           0                 0                  0                  0               0             0           0                X                    1                1
                          BRANDY
660        X            /DENISE/DALE         Illinois Electric Works Inc   6184516940           0                 0                  1                  1               1             0           1                X                    1                1
661                        EILEEN              In-Air Aviation Service     3172710345           0                 0                  0                  0               0             0           0                X                    1                1
662                        BLAKE              Independent Appliance        8507696720           0                 0                  0                  1               1             0           1                X                    1                1
663                     MAINTENANCE                    Indian Trails       7343269803           0                 0                  0                  0               0             0           0                X                    1                1
664                                                 Industrial Air Tool    7139208787           0                 0                  0                  0               0             0           0                                     0                0
665                          JUNE                   Industrial Air Tool    4099481329           0                 0                  0                  0               0             0           0                X                    1                1
                                                 Industrial Apparatus
666        X                KERRY                       Repair Inc         5403426404           0                 0                  0                  0               0             0           0                X                    1                1
                                                  Industrial Battery &
667                         DREW                         Charger           2059563088           0                 0                  0                  0               0             0           0                X                    1                1
668        X                  JIM              Industrial Controls Inc     2293821034           0                 0                  0                  0               0             1           1                X                    1                1
                                                Industrial Equipment
669                                                       Corp.            6105624642           0                 0                  0                  0               0             0           0                                     0                0
                                                Industrial Equipment
670        X                 DON                          Repair           7753316109           0                 1                  0                  0               1             0           1                X                    1                1
                                                   INDUSTRIAL KNIFE
671                       SHANNON                    COMPANY, INC.         3013907929           0                 0                  0                  0               0             0           0                X                    1                1

672                          JOHN            Industrial Lock & Security    3103223627           0                 0                  0                  1               1             0           1                X                    1                1
673                      KEVIN, Martha         Industrial Sales & Svc      4066520717           0                 0                  0                  1               1             0           1                X                    1                1
                                                 Industrial Service
674                        ANNETTE                Technology Inc           6162470086           0                 0                  0                  0               0             0           0                X                    1                1
675        X             PABLO, Brooke           Industrial Supply         8013951899           0                 0                  0                  0               0             0           0                X                    1                1
676        X               CHRISTINE             Industrial Supply          #VALUE!             0                 0                  0                  0               0             0           0                X                    1                1
                       CLAIR MATTHEWS,
677        X                 Kevin           Industrial Tool & Supply      4357537429           0                 0                  1                  1               1             0           1                X                    1                1
                                                INDUSTRIAL TOOL
678                        MELISSA               PRODUCTS, INC             6307664166           0                 0                  0                  0               0             0           0                X                    1                1
                                              Instrument & Control
679                        Ira Martin                Systems               9099876678           0                 0                  0                  0               0             0           0                X                    1                1

680                      X #s NO GOOD        INSTRUMENT TECH CORP          9724588789           0                 0                  0                  0               0             0           0                                     0                0
                                                     Intergrity one
681                                                   technologies         3172418544           0                 0                  0                  0               0             0           0                                     0                0
                                              International Systems Of
682                                                      Amer              5024916543           0                 0                  0                  0               0             0           0                                     0                0
683                      Dean/Charles             International Tool       9547923560           0                 0                  0                  1               1             0           1                X                    1                1
684                      FRONT DESK            Interstate Cash Register    7574592151           0                 0                  0                  0               0             0           0                X                    1                1
685                        PONCH                    inventory sales        3147760054           0                 0                  0                  0               0             0           0                X                    1                1
686                       COURTNEY                 Iowa Fluid Power           #N/A              0                 0                  0                  1               1             0           1                X                    1                1

687                                          Iowa Machinery & Supply       5152883733           0                 0                  0                  0               0             0           0                                     0                0
688                        SHELLY             Island Appliance Repair      9107908608           0                 0                  0                  0               0             0           0                X                    1                1
689                          JEFF                        ITR Inc.          2625499410           0                 0                  0                  0               0             0           0                X                    1                1
690        X            SAMANTHA, Mo            J & A Repair Shop, Inc     7182591083           0                 0                  1                  0               1             0           1                X                    1                1
691        X               MONICA                  J & D Tool Repair       5626334290           0                 0                  0                  0               0             1           1                X                    1                1
692                         JESSIE            J & H Sewing & Vacuum        9077892673           0                 0                  0                  0               0             0           0                X                    1                1
693                         PATTY                   J & J Locksmiths       9164859385           0                 0                  0                  0               0             0           0                X                    1                1




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694                         STEVE            J & K Lock & Security Pros   6082552300           0                 0                  0                  0               0             0           0                X                    1                1
                         MARY BETH /          J & S Electronic Business
695                        SHAWNA                        Syst             3197520537           0                 0                  0                  0               0             0           0                X                    1                1
                       RICARDO /TANYA,
696        X                  JOE                  J & S Tool Repair      9198560051           0                 0                  1                  1               1             0           1                X                    1                1
697        X                 MIKE                J & T Tool & Supply      7138805702           0                 0                  1                  0               1             0           1                X                    1                1
698        X               YVONNE                 J M Mc Kinney Co        3109782795           0                 0                  0                  0               0             0           0                X                    1                1
699                            T.                   J&S LockSmiths        9108671881           0                 0                  0                  1               1             0           1                X                    1                1
700                        RICHARD                  J. Pocker & Son       2127502053           0                 0                  0                  0               0             0           0                X                    1                1
701                          JEFF               J. Technical Services     4197294337           0                 0                  0                  0               0             0           0                X                    1                1
702                          KIM                        J.A. King         2708987957           0                 0                  0                  0               0             0           0                X                    1                1
                                                    J.M. MCKINNEY
703        X                  LISA                    EQUIPMENT           8187862709           0                 0                  0                  0               0             1           1                X                    1                1
704        X                 CHILLY                  Jack X Change        7148714591           0                 0                  0                  0               0             1           1                X                    1                1
705        X           MIKE, ROD, RANDY            Jack's Rental Inc      7087880288           0                 0                  1                  0               1             1           1                X                    1                1

706                                          Jackson Heating & Cooling    4023914176           0                 0                  0                  0               0             0           0                                     0                0

707        X                SALLY                   Jackson Saw           5855462979           0                 0                  0                  0               0             0           0                X                    1                1
708        X             RON WINDAU            James Machinery Co         2176989179           1                 0                  0                  0               1             1           1                X                    1                1
709                                                 JDG Door Inc          7184354719           0                 0                  0                  0               0             0           0                                     0                0
710                                                    Jean Luft          7247720740           0                 0                  0                  0               0             0           0                                     0                0
                                           Jencso Industrial Service
711                           TIM                         Inc             4402566263           0                 0                  0                  0               0             0           0                X                    1                1
712                          RENEE          Jenkins Security Svc Inc      5408860155           0                 0                  0                  0               0             0           0                X                    1                1
                                            Jensen Equipment Co.,
713                         JEANIE                        Inc.            2625474973           0                 0                  0                  0               0             0           0                X                    1                1
714                                                 Jesse Philips         6104588438           0                 0                  0                  0               0             0           0                                     0                0
715        X             LAURA, TERI      Jet Fitting & Supply Corp.      7145414491           1                 0                  0                  0               1             1           1                X                    1                1
716                          RECP.             JFJ INDUSTRIES, INC        9183422423           0                 0                  0                  0               0             0           0                X                    1                1
717                         GILBERT         Jiffy Fastening Systems       8592319851           0                 0                  0                  0               0             0           0                X                    1                1
                                             JIM AND SLIM'S TOOL
718        X          ZACK R. MIKE, CARLA               SUPPLY            7275353841           0                 0                  0                  0               0             0           0                X                    1                1
719        X                  JIM            Jim Klippel Tool Repair      8059665544           0                 0                  1                  0               1             0           1                X                    1                1
720        X                 LARRY          Jim's Tool & Repair Svc       5413441513           0                 0                  1                  1               1             0           1                X                    1                1
721                         WAYNE             JLW Instruments, Inc.       3127330009           0                 0                  0                  0               0             0           0                X                    1                1
722                          TRENT                JME Companies           7632958765           0                 0                  0                  0               0             0           0                X                    1                1
723                          EMILY         JOHN'S LOCK & KEY, INC         3193634653           0                 0                  0                  0               0             0           0                X                    1                1
                                                 Johnson & White
724                         WALTER                    Equipment           6152560444           0                 0                  0                  0               0             0           0                X                    1                1
725                         Barbara             Johnson Hydraulics        8019722120           0                 0                  0                  0               0             0           0                X                    1                1
726        X     # nO gOOD, NO LONGER IN BUS. Jones Tool Svc              9017255545           0                 0                  0                  0               0             0           0                X                    1                1
                                                Jorson and Carlson
727                             X                  Company, Inc.          8474370933           0                 0                  0                  0               0             0           0                X                    1                1
728        X                  JOE                    Jossam Tool          8602908384           0                 0                  0                  0               0             1           1                X                    1                1
729        X              JIM POBST                JP Tool Repair            #N/A              0                 1                  0                  0               1             0           1                X                    1                1
730        X                  JOE                  JR Tool Repair         2152894403           0                 0                  0                  0               0             0           0                X                    1                1
731                      HUEY / SUSIE        K-119 OF CALIFORNIA          6505888842           0                 0                  0                  1               1             0           1                X                    1                1

732        X                  TIM            Kalamazoo Electric Motor     2693457929           1                 0                  0                  0               1             1           1                X                    1                1




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                                                Kanawha Scales &
733                                                  Systems              6145018828           0                 0                  0                  0               0             0           0                                     0                0
734                          Travis            Katayama Framing           5032952966           0                 0                  0                  0               0             0           0                X                    1                1
735                                              Katsy Electric Inc       9413309220           0                 0                  0                  0               0             0           0                                     0                0
                                              Kaufmann's Overhead
736                          ANNA                  Door & Awn             4065869736           0                 0                  0                  1               1             0           1                X                    1                1
737                                          Kay Office Equipment Co      5807627610           0                 0                  0                  0               0             0           0                                     0                0
738        X              STEVE, TIM              KayDee Tools            2168812566           0                 1                  0                  0               1             1           1                X                    1                1
739                          MIKE             Kel-Welco Distributing      9138310264           0                 0                  0                  0               0             0           0                X                    1                1
740                                                Kentech Inc            2813548895           0                 0                  0                  0               0             0           0                                     0                0
741                         SONYA                 KENTECH INC             2109462473           0                 0                  0                  0               0             0           0                X                    1                1

742                         ADAM             Key Evidence Lock & Safe     5597330433           0                 0                  0                  1               1             0           1                X                    1                1
743                          DON                      Key One Inc         4107709664           0                 0                  0                  0               0             0           0                X                    1                1
744                          JIM                Keyplace Safe & Lock      5096850139           0                 0                  0                  0               0             0           0                X                    1                1
                                              Keystone Mountaineer
745                         KATHY                        Systems          7242284165           0                 0                  0                  0               0             0           0                X                    1                1
746                         CRAIG                   Keytel Systems        6148667747           0                 0                  0                  0               0             0           0                X                    1                1
                                                  Kimball Electronic
747                        Valentina                   Laboratory         3053623125           0                 0                  0                  1               1             0           1                X                    1                1
                                                 Kings III Emergency
748                       FRONT DESK               Communications         9727453682           0                 0                  0                  0               0             0           0                X                    1                1
                                             KINGSPORT ARMATURE &
749        X             MIKE, Christy             ELECTRIC CO INC        4232476394           0                 0                  1                  1               1             0           1                X                    1                1
750                         DOUG                      Kissler & Co.       2018969190           0                 0                  0                  0               0             0           0                X                    1                1
751        X              ROBERTA                   KOCH ELECTRIC         3176385624           0                 0                  0                  0               0             1           1                X                    1                1
752                        MARTIN                 Koehler Scale, Inc.     8473361456           0                 0                  0                  0               0             0           0                X                    1                1
753        X           ADDISON MOROZ               Kreco Electric Co      5706446508           0                 0                  1                  0               1             0           1                X                    1                1
                                                Kroeger Equipment &
754                         TRACEY                      Supply Co         5594859907           0                 0                  0                  1               1             0           1                X                    1                1
755                                             Kwikset Fasteners Inc     5029695619           0                 0                  0                  0               0             0           0                                     0                0
756                          CINDY            KWIK-Set Fasteners Inc      8592547473           0                 0                  0                  0               0             0           0                X                    1                1
757        X                 NICKI                 L & D Hydraulics       6022586815           0                 0                  1                  1               1             0           1                X                    1                1
758        X                LOWELL              L & L Tool Specialties    3604571269           0                 0                  0                  0               0             1           1                X                    1                1
759        X                LAURIE                   L B Swift Mfg        9094219768           0                 0                  0                  0               0             1           1                X                    1                1
760                          Darcy               L. J. Walch Co., Inc.    9252941780           0                 0                  0                  1               1             0           1                X                    1                1
761        X                Corinna            L.A. Grinding Company      8188461786           0                 0                  1                  1               1             0           1                X                    1                1
                                                    L.H. BRUBAKER
762                       DON HEAPF               APPLIANCES, INC.        7176202308           0                 0                  0                  0               0             0           0                X                    1                1
                                              Laabs Appliance Parts &
763                                                        Svc            4144750353           0                 0                  0                  0               0             0           0                                     0                0
                                                 Lafayette Business
764                          JAMIE                      Machines          9104241355           0                 0                  0                  0               0             0           0                X                    1                1
                                                  LAPPEN SECURITY
765                                                    PRODUCTS           9207343049           0                 0                  0                  0               0             0           0                                     0                0
                                                 LARIMER ELECTRIC
766        X              EDY, LINDA                  MOTOR CO            9704840574           0                 0                  0                  0               0             0           0                X                    1                1
767                         SUSAN                    Laser Care Inc       5036466557           0                 0                  0                  0               0             0           0                X                    1                1
768                         JACLYN                 Laser Resources        5152768700           0                 0                  0                  1               1             0           1                X                    1                1
769                                             Laser Tech Company        3362749989           0                 0                  0                  0               0             0           0                                     0                0

770                      # NOT GOOD          Latrobe Tool Service, Inc.   7245321757           0                 0                  0                  0               0             0           0                                     0                0




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                                             Lawn Mowers-Sharpening
771                          VICKY                 & Repairing          3344930955           0                 0                  0                  0               0             0           0                X                    1                1

772        X                ALLEN          Lawter Electric Motor Co     3045239004           0                 0                  1                  1               1             1           1                X                    1                1
773                         BRAD               Lee Whitford Co.         8605283897           0                 0                  0                  0               0             0           0                X                    1                1
774        X                BILLY                Lee's Electric            #N/A              0                 1                  1                  0               1             0           1                X                    1                1
                                              Leo's Pneumatic &
775                        LAURIE                 Hydraulics            8148984001           0                 0                  0                  0               0             0           0                X                    1                1
                                          LESCORPIUS ENTERPRISES
776                     VANCE, CINDY                  INC               3073822985           0                 0                  0                  0               0             0           0                X                    1                1
777              REBECCA, SUE CLIFFORD, JERRYLewan & Associates         3037587563           0                 0                  0                  0               0             0           0                X                    1                1
778                         SEAN            Liberty Lock & Security     3014243080           0                 0                  0                  0               0             0           0                X                    1                1
779                                                Litecheck            5095357680           0                 0                  0                  0               0             0           0                                     0                0

780                      MIKE GREEN      Little Creek Electronics Inc   3362302435           0                 0                  0                  0               0             0           0                X                    1                1
                                           Lnl Machine Tools Inc -
781                                                  Stevens            7173360979           0                 0                  0                  0               0             0           0                                     0                0
782                           MARK                 Lock Doctor          8165258628           0                 0                  0                  0               0             0           0                X                    1                1
783                          JESSICA                 LockNet            8598874958           0                 0                  0                  0               0             0           0                X                    1                1
784                          TOMMY               Locksmiths Inc         6014833475           0                 0                  0                  0               0             0           0                X                    1                1
785                   SYLVANNA NIEVES     LOCKSMITHS safe techs         8506646769           0                 0                  0                  1               1             0           1                X                    1                1
786        X                  BRIAN               Logan Supply          3237253930           0                 0                  0                  0               0             1           1                X                    1                1
                         CARITA / MIKE          Longo Electrical-
787        X                SCHMIDT                Mechanical           9735370404           1                 0                  0                  0               1             0           1                X                    1                1
788        X               JOHN Ross         Lubbock Electric Co.       8067445690           0                 0                  1                  0               1             1           1                X                    1                1
                                           LUBRICATION EQUIP. &
                                             SUPPLY CO/UNITED
789                      DAVE / DEBBIE      CENTRAL INDUSTRIAL          6024378862           0                 0                  0                  1               1             0           1                X                    1                1
                                              Ludwig Saw & Tool
790                           DEBRA                Sharpening           2547523799           0                 0                  0                  0               0             0           0                X                    1                1
791                                             LYNCH CO., INC.         8085967044           0                 0                  0                  0               0             0           0                                     0                0
                                               Lynwood Building
792        X                  LESLIE                Materials           2104773090           0                 0                  1                  1               1             0           1                X                    1                1
                                         M & M Appliance Sales &
793                      SOPHIE, Kieth               Service            2028827104           0                 0                  0                  1               1             0           1                X                    1                1
                                                M & M Tool and
794        X          MICHAEL, Josh/Jose        Machinery, Inc.         8014854288           0                 0                  1                  1               1             0           1                X                    1                1
                                            M & R Electric Motor
795        X                  SCOTT                Service Inc.         9372221901           0                 0                  0                  0               0             1           1                X                    1                1
796                           KURT            M L Lock & Safe Co        9734021447           0                 0                  0                  0               0             0           0                X                    1                1
797                            Jim                   Maclock            3217844776           0                 0                  0                  1               1             0           1                X                    1                1
798        X              ANITA, Sheri         MAC'S Hydraulics         9186278808           0                 0                  1                  1               1             0           1                X                    1                1
                                          Mac's Jack & Equipment
799                    CARL SCHRENKER                  Svc              4123612855           0                 0                  0                  0               0             0           0                X                    1                1
800                         MELISSA        MAILING SYSTEMS INC          3372346478           0                 0                  0                  0               0             0           0                X                    1                1
801                           LARRY            mainline-security        4154956161           0                 0                  0                  0               0             0           0                X                    1                1
                       # NOT GOOD nO     Maintenance Unlimited &
802        X            LONGER IN BUS                  Tool             5135310135           0                 0                  0                  0               0             0           0                                     0                0
803        X             KEN / ARTHUR                 Makita            8472971544           0                 0                  1                  1               1             0           1                X                    1                1
804        X            BLANCA. KENNY         Makita U.S.A., Inc.       9547816315           0                 0                  1                  0               1             0           1                X                    1                1
805        X            TONY, Veronica           Makita USA Inc         7145228133           0                 0                  1                  1               1             0           1                X                    1                1
                       Suzanne, MARK,
806        X                  David      MANN TOOL AND SUPPLY           8032521119           0                 0                  1                  1               1             0           1                X                    1                1




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                        LISETTE, JESSIE,       Manor Hardware &
807        X               CHARLES                Construction            2535817827           1                 0                  0                  0               1             1           1                X                    1                1
808                                             Marco Supply Co           8043583326           0                 0                  0                  0               0             0           0                                     0                0
809                          JAMIE            Marco Supply Co Inc         3043454746           0                 0                  0                  0               0             0           0                X                    1                1
810                                           Marco Supply Co., Inc.      5403446153           0                 0                  0                  0               0             0           0                                     0                0
                                             Marcone Appliance Parts
811                                                   Ctr                 3142315481           0                 0                  0                  0               0             0           0                                     0                0

812                         BECKY               Mark Hydraulic Co         4027340227           0                 0                  0                  0               0             0           0                X                    1                1
813                    # NOT IN SERVICE         MARTEK of MD Inc.         4102132790           0                 0                  0                  0               0             0           0                                     0                0
                       THERESA / JASON
814        X               ATKINS              Masco Service Corp         8174888918           0                 0                  1                  1               1             0           1                X                    1                1
815                                           Mass Lock Incorporated      6173870077           0                 0                  0                  0               0             0           0                                     0                0
816        X                JACKIE              Master Wholesale          2067676772           0                 0                  1                  0               1             0           1                X                    1                1
817        X                 TIM                    matheson              2078783251           0                 0                  0                  0               0             0           0                X                    1                1
818                         PETER                Matheson Gas             2075966923           0                 0                  0                  0               0             0           0                X                    1                1
819        X                 GALE              Matlock Electric Co.          #N/A              0                 1                  0                  1               1             0           1                X                    1                1

820        X               TAMMY        MAT-SU TOOL REPAIR LLC            9073570649           0                 0                  0                  0               0             0           0                X                    1                1
821                   OK TO FAX MAGMT. Mc Elheney Locksmiths              4192447581           0                 0                  0                  0               0             0           0                X                    1                1
822                        CHANCE         Mc Guire Lock & Safe            8164548083           0                 0                  0                  0               0             0           0                X                    1                1
823                     SCOTT / JANET     McCaleb Tool Supply             2054874958           0                 0                  0                  1               1             0           1                X                    1                1
824        X             JOHN/TRISH      McCally Tool & Supply            7347476098           0                 0                  1                  1               1             0           1                X                    1                1
825                           JIM            McCord Pump                  4323630132           0                 0                  0                  0               0             0           0                X                    1                1
826        X                 MIKE            McKee & Strub                   #N/A              0                 1                  1                  1               1             0           1                X                    1                1
                       NANCY, HENRY OR
827                          ERIC        Med Repairs & Mobility           7725691771           0                 0                  0                  0               0             0           0                X                    1                1
828        X                HOLLY        Medford Tools & Supply           5417720471           0                 0                  0                  0               0             1           1                X                    1                1
                                           Mercer Machine &
829                      THET (CHET?)        Hydraulics, Inc.             6109213830           0                 0                  0                  0               0             0           0                X                    1                1
830        X                BUTCH           Mercury Electric              8088426022           0                 0                  1                  1               1             0           1                X                    1                1
                                        Merrimack Valley Business
831                          JEFF            Machines, Inc.               9782513700           0                 0                  0                  0               0             0           0                X                    1                1
832        X           CARLOS GREGORY         Metabo Corp                 6104369072           0                 0                  1                  1               1             0           1                X                    1                1
                                         Metro Hydraulic Jack Co
833        X          MILTON, S. STORCH            Inc                    9733500112           0                 0                  1                  0               1             0           1                X                    1                1
                                         Metropolitan Appliance
834                        MEAGAN               Service                   9896314688           0                 0                  0                  0               0             0           0                X                    1                1
835                                          MH Equipment                 5632851660           0                 0                  0                  0               0             0           0                                     0                0
                                         Michaelson's Appliance
836                        LANETTE               Repair                   8139351917           0                 0                  0                  1               1             0           1                X                    1                1
                                         Michigan Saw & Cutter,
837                          # NG                 Inc.                    4198823426           0                 0                  0                  0               0             0           0                                     0                0
838                          PAUL       Mid America Vacuum Ctr            8154593337           0                 0                  0                  0               0             0           0                X                    1                1
839        X             STEVE, BETTY   Mid States Ind Supply Inc         4056321434           0                 0                  0                  0               0             1           1                X                    1                1

840                      SERVICE DEPT          Mid-City Super Store       4023790258           0                 0                  0                  0               0             0           0                X                    1                1

841        X                 BOB             Mid-Kansas Tool & Electric   7858252585           0                 0                  0                  0               0             0           0                X                    1                1

842                         ROBERT           Mid-States Bolt and Screw    8107443798           1                 0                  0                  0               1             0           1                X                    1                1
                                                 Midwest Electric
843                         DAVID                  Transformers           3162837538           0                 0                  0                  0               0             0           0                X                    1                1




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                                              Midwest Service Center
                                             (MSC) - Dave Banas - Vice
                                               President/Managing
844                         LINDA                     Partner            2199471099           0                 0                  0                  0               0             0           0                X                    1                1
845                         MIKE               Mike's Workshop Inc       6239391486           0                 0                  0                  0               0             0           0                X                    1                1
                                                  Millenia Home
846                                               Improvements           5708394073           0                 0                  0                  0               0             0           0                                     0                0

847                          ABBY             Miller Construction Co     8128860573           0                 0                  0                  0               0             0           0                X                    1                1
848        X                 STEVE           Milne Power Tool Repair     5095474559           0                 0                  0                  0               0             1           1                X                    1                1
849        X                HECTOR                 Minit Tool Co         3232642309           0                 0                  0                  0               0             0           0                X                    1                1
850                         DENNIS            Minneapolis Lock & Key     6128227716           0                 0                  0                  0               0             0           0                X                    1                1
851                          MIRIC             Miric Industries, Inc.    2018649168           0                 0                  0                  0               0             0           0                X                    1                1
852                     VICKY MITCHELL        Mitchell Appliance Co.     7709424257           0                 0                  0                  0               0             0           0                X                    1                1
                                              MITCHELL HARDWARE
853                         Theresa               COMPANY INC            3052477142           0                 0                  0                  1               1             0           1                X                    1                1
854                           # NG                Mitchell Tools         6015823374           0                 0                  0                  0               0             0           0                                     0                0
855                         JORDAN              Mittler Supply Inc       5742629953           0                 0                  0                  0               0             0           0                X                    1                1
                                              Mnr Construction And
856                          # NG                     Design             8187865239           0                 0                  0                  0               0             0           0                                     0                0
                                             Mobile Mower Repair Inc -
857                         FRANK                     Dexter             7344266384           0                 0                  0                  0               0             0           0                X                    1                1
858                          TOM                  MOHAWK LTD.            3157377347           0                 0                  0                  0               0             0           0                X                    1                1
                                              Moline Service Center,
859                                                     Inc.             8158771954           0                 0                  0                  0               0             0           0                                     0                0
860                       JULIE, CIERA           Montana Bolt Co         4067213412           0                 0                  0                  1               1             0           1                X                    1                1

861                          # NG            Montana-Dakota Utilities    7012245834           0                 0                  0                  0               0             0           0                                     0                0
                                             Montgomery Lock & Key
862                     JIMMY/NATHAN                    Inc              3342715226           0                 0                  0                  1               1             0           1                X                    1                1
                                               Mo's Gallery & Fine
863                        CORRINE                   Framing             5207959442           0                 0                  0                  1               1             0           1                X                    1                1
                                              Mosch Electric Motors,
864        X                TERRY                      Inc.              4064532482           1                 1                  0                  0               1             0           1                X                    1                1
865        X               DENNIS               motion industries        3373650548           0                 1                  1                  1               1             0           1                X                    1                1
866        X             MIKE / CRIAG           Motion Industries        8165873377           0                 1                  1                  1               1             0           1                X                    1                1
                                             Mountz Eastern Service
867                         KAYLEN                    Center             2519434979           0                 0                  0                  1               1             0           1                X                    1                1
868                          DOUG              Mr Lock LockSmiths        5132320088           0                 0                  0                  0               0             0           0                X                    1                1
869                           KYLE                 Mr. Keys Inc          7328408885           0                 0                  0                  0               0             0           0                X                    1                1
870                           Bob             Mr. Stuff Warehouse        8187000054           0                 0                  0                  1               1             0           1                X                    1                1
871                         Dorothy            Mulholland Security       8189802412           0                 0                  0                  1               1             0           1                X                    1                1
872                         MONTY            Murdock Companies Inc.      3162638100           0                 0                  0                  0               0             0           0                X                    1                1
873                          MARK                 Myco-Com Inc           2252621578           0                 0                  0                  0               0             0           0                X                    1                1
                                              N H Bragg & Sons(now
                                               parent Co.) Horizon
874        X                BRENT                   Solutions            2079476752           0                 0                  1                  0               1             0           1                X                    1                1
                                                Nashville Medical
875                      BRAD GUFFEY               Electronics           6153201057           0                 0                  0                  0               0             0           0                X                    1                1
876                         IRWIN            National Security & Door    8047455085           0                 0                  0                  0               0             0           0                X                    1                1
                                                  National Solar
877                      DEAN FULLER              Technologies           7166838655           0                 0                  0                  0               0             0           0                X                    1                1




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                                                Nationwide Gage
878                          MARK                Calibration, inc.       6305299087           0                 0                  0                  0               0             0           0                X                    1                1
879                                            Nature's Gallery Inc      7157360678           0                 0                  0                  0               0             0           0                                     0                0
                        ANGELO/ EDDIE         NC Servo Technology
880        X              HARMON                   Corporation           7343266669           0                 0                  1                  1               1             0           1                X                    1                1
881                         MATT              Ne Security Sollutions     4137395476           0                 0                  0                  0               0             0           0                X                    1                1
882                        BRET G.           Nelson Appliance Repair     7196301577           0                 0                  0                  0               0             1           1                X                    1                1
883                     KEITH HOLMES             network twenty          8136399344           0                 0                  0                  1               1             0           1                X                    1                1
                                             New England Hydraulic
884                          PETER                    Svc Co             7819329715           0                 0                  0                  0               0             0           0                X                    1                1
885                         JEREMY                New Tech Inc           9208669259           0                 0                  0                  0               0             0           0                X                    1                1
886                        No Listing              NO LISTING            7702428450           0                 0                  0                  0               0             0           0                                     0                0
887                          #NG                   NO LISTING            7576260606           0                 0                  0                  0               0             0           0                                     0                0
                       CHRISTY, BRIAN.
888        X               MARY              North Florida Power Tool    9043872460           0                 0                  1                  1               1             0           1                X                    1                1

889                                          North Star Svc & Supply *   6127223415           0                 0                  0                  0               0             0           0                                     0                0
                                              Northeast Commercial
890                         TOM                     Appliance            5187854643           0                 0                  0                  0               0             0           0                X                    1                1
891        X            ROBERT GREEN             Northend Rental         4257424848           0                 0                  0                  0               0             1           1                X                    1                1
892        X               STEVE              Northern States Supply     5073881279           0                 0                  1                  1               1             0           1                X                    1                1
893        X                JAKE              Northern States Supply     3202350981           0                 0                  1                  1               1             0           1                X                    1                1

894        X               D.J., Terri       Northern States Supply      6053320228           0                 0                  1                  1               1             0           1                X                    1                1
                                             Northwest Sales Group
895        X             SCOTT, BRYAN                 Inc.               2067625546           0                 0                  1                  1               1             0           1                X                    1                1
896        X                CHRIS             Northwest Tool Repair      4068626280           0                 0                  0                  0               0             1           1                X                    1                1
                                             Norvac Lock Technology
897                        ROBERT                      Inc               5406622970           0                 0                  0                  0               0             0           0                X                    1                1
898                         MIKE                  Novato Lock            4158923351           0                 0                  0                  0               0             0           0                X                    1                1
899                       TAMARA                Nre Wheel Works          4144628231           0                 0                  0                  0               0             0           0                X                    1                1
900                      ADAM/ NICK             Nutter Appliance         6192629985           0                 0                  0                  1               1             0           1                X                    1                1
901                         TOM                Nu-Way Tool Supply        4089840162           0                 0                  0                  1               1             0           1                X                    1                1
902                                           Oestreich Locksmiths       8157226635           0                 0                  0                  0               0             0           0                                     0                0

903                       FRONT DESK         Office Automation Ctr Inc   2152953082           0                 0                  0                  0               0             0           0                X                    1                1
                                                Office Machine
904                                               Consultants            3097860126           0                 0                  0                  0               0             0           0                                     0                0
905                        WILLIAM            OHIO HYDRAULIC SVC         6142216246           0                 0                  0                  0               0             0           0                X                    1                1
906        X               IAN, AJ              Ohio Power Tool          6144812112           0                 0                  0                  0               0             0           0                X                    1                1
907                         JAMIE               Oil Safe System          6308523678           0                 0                  0                  0               0             0           0                X                    1                1

908                           L.J.           Olsen Chain & Cable data    3202865302           0                 0                  0                  0               0             0           0                X                    1                1
909                           JEN               Omni Cart Services       4402058366           0                 0                  0                  0               0             0           0                X                    1                1
910                                           ONSHORE RESOURCES          5123763330           0                 0                  0                  0               0             0           0                                     0                0
911                         SHERRY           Owens Communications        8123769729           0                 0                  0                  0               0             0           0                X                    1                1
912                          Cindy           P H Hydraulic Service Inc   9047839957           0                 0                  0                  1               1             0           1                X                    1                1
913                        HEATHER                  P&R Supply           9184389993           0                 0                  0                  0               0             0           0                X                    1                1
914                          JULIE               P.F. Markey, Inc.       9897939511           0                 0                  0                  0               0             0           0                X                    1                1
                                             Pacific Coast Air: NOW: S
915        X              Joel @ S & S         & S Supply Solutions      9096285290           0                 0                  0                  0               0             0           0                X                    1                1




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                                                Pacific Electronic
916                        MICHAEL                  Enterprises          7148472474           0                 0                  0                  1               1             0           1                X                    1                1
917        X          James Jones (JJ), Lisa Pacific Industrial Supply   2066232173           0                 0                  1                  1               1             0           1                X                    1                1
918                        MEAGAN                 Paco Ventures          2067634232           0                 0                  0                  0               0             0           0                X                    1                1
919                      TODD, Yumi               Painter's Place        4159250857           0                 0                  0                  1               1             0           1                X                    1                1
920                                           Palesh & Associates *      4409534529           0                 0                  0                  0               0             0           0                                     0                0
                                             Pape Material Handling
                  Sandy Martin, Sarah Burnette          Inc              9165655622           0                 0                  0                  0               0             0           0                X                    1                1
921
922                        PATRICK           Patrick's Locksmith Svc     9792330737           0                 0                  0                  0               0             0           0                X                    1                1
923                           JEFF                Patriot Supply         5083396921           0                 0                  0                  0               0             0           0                X                    1                1

924        X                                 Patterson Mold & Tool Inc   9126818549           0                 0                  0                  0               0             0           0                                     0                0
                                               PATTERSON MOLD &
925        X                                        TOOL INC *           9133380838           0                 0                  0                  0               0             0           0                                     0                0
926                     DANNY, PRICILLA        Paul's Repair Shop Inc    2765307315           0                 0                  0                  0               0             0           0                X                    1                1

927        X                  SKIP           Payne's Tool & Supply Inc   9195440474           0                 0                  1                  1               1             0           1                X                    1                1
928                                             PCS Stattion Inc. *      6262893100           0                 0                  0                  0               0             0           0                                     0                0
                                                Penn Tool Branch
929        X                 KEVIN                   Locations           3307586028           0                 0                  0                  0               0             0           0                X                    1                1

930                           SEAN           Penn Tool Sales & Service   8167411019           0                 0                  0                  0               0             0           0                X                    1                1

931                           KYLE           Penn Tool Sales & Service   5137728044           0                 0                  0                  0               0             0           0                X                    1                1

932        X                 EDDIE           Pennsylvania Tool Service     #VALUE!            0                 0                  0                  0               0             0           0                X                    1                1
933                                             PERFECT WIRELESS         3178744266           0                 0                  0                  0               0             0           0                                     0                0
934        X                 MARY                 Perrine Electric          #N/A              0                 1                  1                  1               1             0           1                X                    1                1
935                                             Petersburg Trading       8048613565           0                 0                  0                  0               0             0           0                                     0                0
                                                Phil & Son Security
936                           AL                    Technology           2196631066           0                 0                  0                  0               0             0           0                X                    1                1
937        X                 TONY                   Philbin Mfg             #N/A              0                 1                  1                  1               1             0           1                X                    1                1
                                              PINEWOOD APPLIANCE
938                                                   REPAIR             5413894856           0                 0                  0                  0               0             0           0                                     0                0
939                         ANNETTE                  Plastech Inc        4107376764           0                 0                  0                  0               0             0           0                X                    1                1
940                          KEVIN             Platt Electric Products   5032558082           0                 0                  0                  0               0             0           0                X                    1                1
941                          JANET               Pointer Electric Inc    3607572681           0                 0                  0                  0               0             0           0                X                    1                1
942                           RITA            PolyMod® Technologies      2604326051           0                 0                  0                  0               0             0           0                X                    1                1
                                                   POPLAR BLUFF
                                                ELECTRICAL SUPPLY
943                           JULIE                  COMPANY             5736864874           0                 0                  0                  0               0             0           0                X                    1                1
944                           TARA                 Porter Services       7044833529           0                 0                  0                  0               0             0           0                X                    1                1
945                           RICK               Posner Industries       7036310175           0                 0                  0                  0               0             0           0                X                    1                1
946                          JAMES             Posner Industries Inc     3013736394           0                 0                  0                  0               0             0           0                X                    1                1
947                          BERNIE            Posner Industries Inc     3016684454           0                 0                  0                  0               0             0           0                X                    1                1
                                                  Pousson's Tool &
948        X              AARON                     Fasteners Co         3374772425           0                 0                  0                  0               0             0           0                X                    1                1
949                         PHIL                    Power Clinic         9726201926           0                 0                  0                  0               0             0           0                X                    1                1
950                        CHRIS                  Power Place, Inc       9736274252           0                 0                  0                  0               0             0           0                X                    1                1
951                    SHANIE/ DENISE             POWER SECURE           4076288919           0                 0                  0                  0               0             0           0                X                    1                1
952                      BRAD, JIM                 Power Service         4062593956           0                 0                  0                  1               1             0           1                X                    1                1
953        X          MARLENE/NATHAN          Power Tool & Supply Inc    3307923687           0                 0                  1                  1               1             0           1                X                    1                1




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954        X                 DAN                 Power Tool Repair        3306303320           0                 0                  1                  1               1             0           1                X                    1                1
                                             POWER TOOL SERVICE OF
955        X               DUSTIN                    NASHVILLE            6152548229           0                 0                  0                  0               0             0           0                X                    1                1
956        X          JENNIFER / LAUREN        Power Tool Specialist       #VALUE!             0                 0                  0                  0               0             0           0                X                    1                1
957        X               ROBERT                 Power Tools Inc         9017747808           1                 0                  0                  0               1             1           1                X                    1                1
958        X             BILL, CINDY          Power Tools Sales & Svc     4198689084           1                 0                  0                  0               1             1           1                X                    1                1
                                                Powerhouse Tool &
959                          ANDY                    Supply Inc           3013504026           0                 0                  0                  0               0             0           0                X                    1                1
                                             PRECISION CALIBRATION
960                   NO LONGER IN BUS                 LABS *             3149977420           0                 0                  0                  0               0             0           0                X                    1                1
                                                Precision Electronics
961        X            SHERRI, KARRY                  Service            4347925672           0                 0                  0                  0               0             0           0                X                    1                1
                                              Precision Locksmith Svc
962                         NICOLE                       Inc              5036267231           0                 0                  0                  0               0             0           0                X                    1                1
                                               PRECISION OUTDOOR
963                          MATT                      POWER              3078561434           0                 0                  0                  0               0             0           0                X                    1                1

964                           JAN            Precision Propeller Repair   8455691558           0                 0                  0                  0               0             0           0                X                    1                1
                                             Precision Tool & Const Sup
965        X                DEREK                         Inc             5207452500           0                 0                  1                  0               1             1           1                X                    1                1
966                                            Preferred Testing Labs     8055322094           0                 0                  0                  0               0             0           0                                     0                0
967        X                 MIKE              Prescotts Power Tool       9287768159           0                 0                  0                  0               0             1           1                X                    1                1
968        X                DAVE                    Priest Electric       2084596586           0                 0                  0                  0               0             1           1                X                    1                1
969                        ZHANAIA                   Prime Power          7707397033           0                 0                  0                  0               0             0           0                X                    1                1
                                                   Pro Foundation
970                                                Technology Inc.        8163584933           0                 0                  0                  0               0             0           0                                     0                0
971        X                  Ashley                PRO TOOL INC          8452943864           0                 0                  0                  0               0             0           0                X                    1                1
972        X           VICKI, JAIME, MIKE         Pro Tool Service        5137721066           0                 0                  1                  0               1             1           1                X                    1                1
                                               Probst Refrigeration &
973                           LISA                    Heating Inc         2173422898           0                 0                  0                  0               0             0           0                X                    1                1
974                          STEVE             Process Sciences, Inc.     5122597073           0                 0                  0                  0               0             0           0                X                    1                1

975        X                 CODY            Production Tool Supply Co    5867711072           0                 0                  0                  0               0             0           0                X                    1                1
                                                Professional Engine
976                      JOSEPH GEAR                 Systems              3305335235           0                 0                  0                  0               0             0           0                X                    1                1
977                         MATT                Professional Testing      5122441846           0                 0                  0                  0               0             0           0                X                    1                1

978                         TONYA            Pruitt Communications Inc    3346714544           0                 0                  0                  0               0             0           0                X                    1                1
                                              QUALITY MOWER & SAW
979                          JOHN                       EQUIP.            9195961671           0                 0                  0                  0               0             0           0                X                    1                1
                                                Quality Screening &
980                                                    Window             9419532674           0                 0                  0                  0               0             0           0                                     0                0
981                                            Quality Scrub Car Wash     5187534496           0                 0                  0                  0               0             0           0                                     0                0
982        X                 KIM                Quality Supply & Tool     3177860044           0                 0                  0                  0               0             1           1                X                    1                1
983                          GREG                    QUEST INC.           3036558143           0                 0                  0                  0               0             1           1                X                    1                1
                                             QUICK APPLIANCE REPAIR
984                     AUDREY, ERICA                  SERVICE            9704931239           0                 0                  0                  0               0             0           0                X                    1                1
985                        JANE                 Quick Servant Co Inc      4107961248           0                 0                  0                  0               0             0           0                X                    1                1
                                               R & S Industrial Supply
986                         RALPH                      Co., Inc.          4783281374           0                 0                  0                  0               0             0           0                X                    1                1
987                         BRIAN                  R N T Supply Inc       5177504737           0                 0                  0                  0               0             0           0                X                    1                1
988        X             NICOLE, DAN                R&D Services          8606212415           0                 0                  0                  0               0             0           0                X                    1                1
989                         BARB              R&L Hearing Services LLC    7633831437           0                 0                  0                  0               0             0           0                X                    1                1




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990                          DENISE            R. Scheinert & Son Inc.     2156739360           0                 0                  0                  0               0             0           0                X                    1                1
991                        STEPHANIE               Radioland, Inc.         5025894276           0                 0                  0                  0               0             0           0                X                    1                1

992         X            TANYA, SHAWN,        Radwell International, Inc   3365471909           0                 0                  0                  0               0             0           0                X                    1                1
                                              Rainbow Electric Motors-
993         X           GEORGE, TERESA                  Cntrls             8474550385           0                 0                  0                  0               0             0           0                X                    1                1
994                       NO GOOD #               Ralls Appliance *        8062742165           0                 0                  0                  0               0             0           0                X                    1                1
                                                  Ralph's Industrial
995                            JOE               Electronic Supplies       7136452111           0                 0                  0                  0               0             0           0                X                    1                1

996                    ZACHARY ROBERSON Ram Tool & Supply Co Inc           4236980835           0                 0                  0                  0               0             1           1                X                    1                1

997                          LINDSEY      Ray O. Cook Heating & Air          #N/A               0                 0                  0                  1               1             0           1                X                    1                1
                                           Ray's Appliance Sales &
998                          ROBERT                  Svc                   5182972114           0                 0                  0                  0               0             0           0                X                    1                1
                       MIKE, NO LONGER IN RECCO TOOL & SUPPLY
 999        X                  BUS.                 CO. *                  7084427871           0                 0                  0                  0               0             0           0                X                    1                1
1000                   PRICILLA, ADRIANA   Reed Brothers Security          5106527081           0                 0                  0                  1               1             0           1                X                    1                1
1001                   Permanently Closed         ReGenCo                  4144752858           0                 0                  0                  0               0             0           0                                     0                0
1002                           BILL           Regent Hydraulic             2154826863           0                 0                  0                  0               0             0           0                X                    1                1
1003                           RINA          Reliable Equipment            2153579193           0                 0                  0                  0               0             0           0                X                    1                1
1004        X                  FLO          Reliable Tool Service          5616891644           0                 0                  0                  0               0             0           0                X                    1                1
                                             RELIANCE ELECTRIC
1005        X                 BRIAN           SERVICE CO., INC             4135333560           0                 0                  0                  0               0             0           0                X                    1                1
1006                                        Remco office systems           9374362449           0                 0                  0                  0               0             0           0                                     0                0

1007                         ADAM             Reno Hydraulic & Rebuild     7753566635           0                 0                  0                  0               0             0           0                X                    1                1

1008        X                 ROB             RENU ELECTRIC CO., INC.      3133661728           0                 0                  0                  0               0             0           0                X                    1                1

1009                                          Restoration Technologies     6308511774           0                 0                  0                  0               0             0           0                                     0                0
1010                    GEORGE Janina              Rex Lock & Safe         9257983850           0                 0                  0                  1               1             0           1                X                    1                1
                                                Richard's Sharpening
1011        X             MR. RICHARD                  Service             6096453890           0                 0                  0                  0               0             0           0                X                    1                1
1012                        MAURY              Richland Industrial Inc     8032526902           0                 0                  0                  0               0             0           0                X                    1                1

1013                        RECP. OK              Richland Industries      4194723053           0                 0                  0                  0               0             0           0                X                    1                1
1014        X                                       Ridge Electric *       5592688315           0                 0                  0                  0               0             0           0                                     0                0
1015                       OK TO FAX            Ridgewood Locksmith        2018186611           0                 0                  0                  0               0             0           0                X                    1                1
1016                                             Rio Industrial Supply     9155442658           0                 0                  0                  0               0             0           0                                     0                0
                                              Rivercity Communications
1017                     KIM SCHEFFLER                    Inc.             2105583209           0                 0                  0                  0               0             0           0                X                    1                1
1018                      PAUL MILLER                Riverdale Tool        2017912699           0                 0                  0                  0               0             0           0                X                    1                1
1019        X              SAL, MARY           Robert Bosch Tool Corp      7147794909           0                 0                  0                  0               0             0           0                X                    1                1
1020                          ROB                ROBERTS AND SONS          9737723232           0                 0                  0                  0               0             0           0                X                    1                1
1021                       OK TO FAX                Robi Tool Sales        6176251650           0                 0                  0                  0               0             0           0                X                    1                1

1022        X           KATELYN/AUSTIN        Robinson's Saw Service Inc   5867313509           0                 0                  0                  0               0             1           1                X                    1                1
                                                 Rochester Industrial
1023                         ELISHA                 Services, Inc.         5852541839           0                 0                  0                  0               0             0           0                X                    1                1
1024                       RON, LAURA          Rocky Mtain Aircraft Svc    4067560420           0                 0                  0                  0               0             0           0                X                    1                1
1025                                                 Rogan Inc.            5633558333           0                 0                  0                  0               0             0           0                                     0                0




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                                                Rohlinger Enterprises;
1026                         SARAH                  Incorporated          3605986166           0                 0                  0                  0               0             0           0                X                    1                1

1027                         LILLIAN         Rolling Frame Revue          4048736911           0                 0                  0                  1               1             0           1                X                    1                1
                                          Roys Electric Motor Sales
1028                                               and Service            8043555716           0                 0                  0                  0               0             0           0                                     0                0
1029        X           DARRYL, DUSTIN             Runge Tool             3037441229           0                 0                  0                  0               0             1           1                X                    1                1
1030        X                   ALEX           Rupe's Hydraulics          7607447859           0                 0                  0                  0               0             1           1                X                    1                1
1031                            DAN          Rusco Hydraulics Inc.        7172991241           0                 0                  0                  0               0             0           0                X                    1                1
                                         S S ELECTRIC REPAIR SHOP
1032        X                  SCOTT                   INC                7168230371           0                 0                  0                  0               0             1           1                X                    1                1
1033                          JENILLE               Safemart              3103239251           0                 0                  0                  0               0             0           0                X                    1                1
1034                       KERRY PAGE          Safway Supply Inc          5095343139           0                 0                  0                  0               0             0           0                X                    1                1
                                           SAKO ELECTRIC MOTOR
1035        X              MARK, Tony          REWINDING CORP             8088416989           0                 0                  0                  0               0             0           0                X                    1                1
1036                          SUSAN          Same Day Svc Co Inc          7819352342           0                 0                  0                  0               0             0           0                X                    1                1
1037        X             JOHN SANKEY          Sankey Equipment           2102280377           0                 0                  0                  0               0             0           0                X                    1                1
                                              Sarver's Hydraulic &
1038                             TIM               Pneumatic              5403429808           0                 0                  0                  0               0             0           0                X                    1                1
1039        X          NO LONGER IN BUS.        S-B Power Tools           7702429880           0                 0                  0                  0               0             0           0                                     0                0
1040                           PATTY          Sbm Electronics Inc         4127610190           0                 0                  0                  0               0             0           0                X                    1                1
1041                     MATT STUART            Sbs Industries Llc        9188348513           0                 0                  0                  0               0             0           0                X                    1                1
1042                            JULIE        Scales Unlimited Inc.        2084552831           0                 0                  0                  1               1             0           1                X                    1                1
                                         Schaub Equipment Rental
1043                          CHUCK                    Inc.               7168247731           0                 0                  0                  0               0             0           0                X                    1                1
                                             Schmidt SAW & Knife
1044                                                  Works               4098356009           0                 0                  0                  0               0             0           0                                     0                0
                                               Schneider Electric
1045        X           SANDY /. SHIRLEY       Industrial Services        3366684878           0                 0                  0                  0               0             0           0                X                    1                1
                                         School of Lock Technology
1046                       # NO GOOD                    *                 6192345937           0                 0                  0                  0               0             0           0                                     0                0
                                                 Schutte-Buffalo
1047                            MIKE            Hammermill LLC            7168553417           0                 0                  0                  0               0             0           0                X                    1                1
1048                             BILL             Scott Electric          4126217169           0                 0                  0                  0               0             0           0                X                    1                1
1049                                        Scotty's Hydraulic Svc        5749355162           0                 0                  0                  0               0             0           0                                     0                0
1050                           DOUG           Seals Unlimited Inc         5036906688           0                 0                  0                  0               0             0           0                X                    1                1
                                            Security Lock And Safe
1051                         JOHNNIE           Hallford Bros. LLC         7704222593           0                 0                  0                  0               0             0           0                X                    1                1
1052                        ANTHONY       Security Locksmiths, Inc.       3202594727           0                 0                  0                  0               0             0           0                X                    1                1
                                              Security Services &
1053                            Carol             Technologies            6106306785           0                 0                  0                  0               0             0           0                X                    1                1
1054                           STEVE          SERIAL SCENE, INC.          8479480221           0                 0                  0                  0               0             0           0                X                    1                1
1055                       Lee McDavid          Service Care, Inc.        2059563922           0                 0                  0                  1               1             0           1                X                    1                1
1056                           JERRY       Sewer Cable Equip. Co.         7024335403           0                 0                  0                  0               0             0           0                X                    1                1

1057        X          ANDREW, Mira, Kevin       Sew-N-Vac                8454730089           0                 0                  0                  0               0             0           0                X                    1                1
1058        X             FRED / DAVID       Sharkan Supply Co.           6102643094           0                 0                  0                  0               0             0           0                X                    1                1
1059                        LINDSEY         Sherer Lock & Supply          4123216002           0                 0                  0                  0               0             0           0                X                    1                1
1060                       STEPHANIE         Shoe Equipment Co.           5036201763           0                 0                  0                  0               0             0           0                X                    1                1
1061                         TRAVIS        Shreveport Air Tool, Inc.      3182270013           0                 0                  0                  0               0             0           0                X                    1                1
1062                          RAY           Sierra Saw & Tool Inc         5306660658           0                 0                  0                  0               0             0           0                X                    1                1

1063                                          Signet 6 Network Sciences   5013757156           0                 0                  0                  0               0             0           0                                     0                0




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1064                                            Simple Office Solutions      7075759448           0                 0                  0                  0               0             0           0                                     0                0
                                              Sinclair Material Handling -
1065                                                    Trenton              6095848882           0                 0                  0                  0               0             0           0                                     0                0
1066                       BRANDON                     Si-tes Inc            8033963953           0                 0                  0                  0               0             0           0                X                    1                1
1067                          BILL                Sky Products Tools         3057598669           0                 0                  0                  1               1             0           1                X                    1                1
1068        X                DOUG                 SkywayTools.com            5308914025           0                 0                  0                  0               0             0           0                X                    1                1
1069        X             Wade, Megan             Slim's Power Tools         8082427790           0                 0                  0                  0               0             0           0                X                    1                1
                                                  SLOAN APPLIANCE
1070                          CHRIS                CAROLINAS, INC.           8037963348           0                 0                  0                  0               0             0           0                X                    1                1
                                                  Smileys Air Tool &
1071                           TIM                     Hydraulic             5029663910           0                 0                  0                  0               0             0           0                X                    1                1
1072                                                So-Fro Fabrics *         5862935210           0                 0                  0                  0               0             0           0                                     0                0
                                                South Shore Generator
1073                         WAYNE                      Service              5082912544           0                 0                  0                  0               0             0           0                X                    1                1

1074                       JERRY/JUDY         SOUTHEASTERN JACK CO.          2052521586           0                 0                  0                  1               1             0           1                X                    1                1
                                                 Southern Apparatus
1075        X                JOHN                    Services, Inc.          3183960083           0                 0                  0                  0               0             0           0                X                    1                1
1076                         WADE                  southern carlson          5413178384           0                 0                  0                  0               0             0           0                X                    1                1
                                                       Southern
                                              Carlson(formally)Western
1077        X             ERIC / DAVID                Tool Supply            5035888225           0                 0                  0                  0               0             0           0                X                    1                1
                                               SOUTHERN FASTENER &
1078        X               ARNOLD                  TOOL CO INC.             2259273335           0                 0                  0                  0               0             0           0                X                    1                1
                                              Southern Photo Technical
1079                          AMY                       Service                #N/A               0                 0                  0                  1               1             0           1                X                    1                1
1080        X             Hilda, DIEGO              Southern Tool             #VALUE!             0                 0                  0                  0               0             0           0                X                    1                1
                                                  SOUTHERN TOOL
1081                       ELIZABETH                  HYDRAULIC              4236290125           0                 0                  0                  0               0             0           0                X                    1                1
1082                         WALLY              SPECMO Enterprises           2483072571           0                 0                  0                  0               0             0           0                X                    1                1
1083                          BILL              Spectrum Sound Inc.          3179254166           0                 0                  0                  0               0             0           0                X                    1                1
1084                          LOU                 Spirit Aeronautics         6142376387           0                 0                  0                  0               0             0           0                X                    1                1
1085                        George                 Spokane Pump *            5095354565           0                 0                  0                  0               0             0           0                X                    1                1

1086                         SANDY            Spring Hill Lock & Key, Inc.   3526863868           0                 0                  0                  0               0             0           0                X                    1                1
                                               St Joseph Electric Supply
1087                                                   Company               8162323843           0                 0                  0                  0               0             0           0                                     0                0
1088                                                 Staley Co Inc           8043215341           0                 0                  0                  0               0             0           0                                     0                0
                        AMBER, Michael,
1089                         mike         Standard Calabrations Inc.         7575490666           0                 0                  0                  0               0             0           0                X                    1                1
1090                        TRAVIS         Standard TV & Appliance           5413890778           0                 0                  0                  0               0             0           0                X                    1                1
1091                         Doug                Star Avionics               4234991107           0                 0                  0                  0               0             0           0                X                    1                1
1092        X               DENISE              Star Hydraulics              7136816246           0                 0                  0                  0               0             0           0                X                    1                1
1093                   OCTAVIO, Veronnica Star Microwave Service             5104987901           0                 0                  0                  1               1             0           1                X                    1                1
                                           Static Power Conversion
1094                        NANCY                 Services Inc               4109921494           0                 0                  0                  0               0             0           0                X                    1                1

1095                                             Steve's Wholesale *         4059488226           0                 0                  0                  0               0             0           0                X                    1                1
                                                  Steve's Wholesale
1096                         LARRY                   Distributors            4057372366           0                 0                  0                  0               0             0           0                X                    1                1
1097                                           Steve's Wholesale Tools       9186634171           0                 0                  0                  0               0             0           0                X                    1                1
1098                     CHERYL , ANDY         Steve's Wholesale Tools       9188341065           0                 0                  0                  0               0             0           0                X                    1                1
1099                        MARIA               STRATA WORLDWIDE             7703212520           0                 0                  0                  0               0             0           0                X                    1                1




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1100        X                 TODD                 Strom Electric           2088352332           0                 0                  0                  0               0             1           1                X                    1                1
1101                                             Stronghold Supply          7032571563           0                 0                  0                  0               0             0           0                X                    1                1
1102                       MATTHEW             summit electric supply       5053261620           0                 0                  0                  0               0             0           0                X                    1                1
1103        X            DESTINY / CURT           Sunbelt Rentals           7047952152           0                 0                  0                  0               0             0           0                X                    1                1
1104                          DON                  SUNRISE TOOL             6316614085           0                 0                  0                  0               0             0           0                X                    1                1
1105        X             ROD / STACY                Sunsource              5043494792           0                 0                  1                  1               1             0           1                X                    1                1

1106        X                 DAN                    Sunsource              8006362755           0                 0                  1                  1               1             0           1                X                    1                1
1107        X                 KASSI                  Sunsource              8007642468           0                 0                  1                  1               1             0           1                X                    1                1



1108        X             ANDY, TRENT                 Sunsource             8005869502           0                 0                  1                  1               1             0           1                X                    1                1
1109        X               LINDA                     Sunsource             8005869504           0                 0                  1                  1               1             0           1                X                    1                1
1110                        WENDY                 Superior Framing          7062530254           0                 0                  0                  0               0             0           0                X                    1                1
                                                  Sweinhart Electric
1111        X               JENNIFER                   Company              7145219300           1                 0                  0                  0               1             1           1                X                    1                1
                                                   SYSTEM SCALE
1112                         PEGGY                 CORPORATION              6152543443           0                 0                  0                  0               0             0           0                X                    1                1
1113        X                                      T J Tool Supply          5137323466           0                 0                  0                  0               0             0           0                                     0                0
1114                         RUBEN                    Tako Tyko             3239373912           0                 0                  0                  0               0             0           0                X                    1                1
1115                          ROSS                    TEACO Inc.            2198746080           0                 0                  0                  0               0             0           0                X                    1                1
1116                          # NG                   Technisys *            8568539455           0                 0                  0                  0               0             0           0                                     0                0
                                                 Telephone Sales &
1117                         SARAH            Installation - Fayetteville   7704605162           0                 0                  0                  1               1             0           1                X                    1                1
1118                         JOANIE             Telrepco Services Inc       2032691466           0                 0                  0                  1               1             0           1                X                    1                1
1119                        JOCELYN               Telstar Locksmith         2128090141           0                 0                  0                  0               0             0           0                X                    1                1

1120                                          Test & Measurement, Inc.      9132332702           0                 0                  0                  0               0             0           0                                     0                0
1121        X                PHILLIP           Texas Tool & Equipment       8067631685           0                 0                  0                  0               0             0           0                X                    1                1
1122                          JEFF              Texas Tool & Hardware       3615736575           0                 0                  0                  0               0             0           0                X                    1                1
1123                         GWEN                 Texas Tool Traders        2815548893           0                 0                  0                  0               0             0           0                X                    1                1
1124        X                 DAN              THACKER ELECTRIC, INC.       4025923768           0                 1                  0                  1               1             1           1                X                    1                1

                                                The Andersons Mower
1125                        MICHELLE          Center John Deere Dealer      4198938313           0                 0                  0                  0               0             0           0                X                    1                1
1126                    KALEY SAMANTHA            The Frame Maker           6192602606           0                 0                  0                  1               1             0           1                X                    1                1
1127                      Aloha, BOBBY           The Gellert Co., Inc.      8088471433           0                 0                  0                  1               1             0           1                X                    1                1
                                               THE HOSE CONNECTION
1128                         CHRIS                       INC                4323812521           0                 0                  0                  0               0             0           0                X                    1                1
1129        X            Rosemary/Willy         The Lawn Mower Shop         3052334935           0                 0                  0                  0               0             0           0                X                    1                1
1130                         DENISE                The Lock Doctor          9082131267           0                 0                  0                  0               0             0           0                X                    1                1
1131                          JESS                The Lock Shop, Inc        4018857879           0                 0                  0                  0               0             0           0                X                    1                1
1132                        WAYNE               The Parker Group, Inc.      5864692826           0                 0                  0                  0               0             0           0                X                    1                1
1133                     MARK FRAZIER         The Savannah Toolhouse        9129630044           0                 0                  0                  0               0             0           0                X                    1                1

1134                         JASON            The Toolshed Baton Rouge      2259247700           0                 0                  0                  0               0             0           0                X                    1                1
1135                         MARK                   The Vac Shak            2077950229           0                 0                  0                  0               0             0           0                X                    1                1
1136                                            THOMAS PNEUMATICS           7248327060           0                 0                  0                  0               0             0           0                                     0                0
1137        X             JEFF / HUNTER         Thomas Tool & Supply        9528955636           0                 0                  1                  1               1             0           1                X                    1                1
1138        X                  JOHN             Thomas Tool & Supply        5072813879           0                 0                  1                  1               1             0           1                X                    1                1
                                               THOMAS TOOL & SUPPLY
1139        X               YVONNE                       INC                3202539109           0                 0                  0                  0               0             1           1                X                    1                1




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                                              Thompson Electric Motor
1140        X            JACOB, BILL, JOY              Service            3047526084           0                 0                  1                  0               1             0           1                X                    1                1
1141                                              Tidewater Service       7574908369           0                 0                  0                  0               0             0           0                                     0                0
                                                 Tinder Co. Lock and
1142                       MARGERET                     Access            3172552917           0                 0                  0                  0               0             0           0                X                    1                1
1143        X                STEVE             Titan Equipment Repair     7147392831           0                 0                  0                  0               0             1           1                X                    1                1
1144                         EDDIE            Tomba Communications        9857250061           0                 0                  0                  0               0             0           0                X                    1                1
1145                         JAMES                  Ton Tex Corp.         6169578927           0                 0                  0                  0               0             0           0                X                    1                1
1146                        SAMMY                Tony's Appliance Inc     9524350521           0                 0                  0                  0               0             0           0                X                    1                1
1147                         HARRY            Tool Box Sales & Service    9733404041           0                 0                  0                  0               0             0           0                X                    1                1
1148        X               DERRICK                  Tool Central         8709726925           0                 0                  1                  1               1             0           1                X                    1                1
1149        X             MISTY, JASON               Tool Central         8708927076           0                 0                  1                  1               1             0           1                X                    1                1
1150        X               DONALD                   Tool Central         8706980009           0                 0                  1                  1               1             0           1                X                    1                1
1151        X             LAURA / LOIS          Tool Crib supplies Inc.   8165250288           0                 0                  0                  0               0             0           0                X                    1                1
1152        X               AUSTIN                   Tool Doctor          3526226704           0                 0                  1                  1               1             0           1                X                    1                1
1153        X                SCOTT                  Tool House Inc        3183233410           0                 0                  0                  0               0             1           1                X                    1                1
1154        X                HOLLY                  Tool House Inc        5138213353           0                 0                  0                  0               0             1           1                X                    1                1

1155                          # NG            Tool L Equipment supply *   7182778860           0                 0                  0                  0               0             0           0                                     0                0
1156        X                JUSTIN                    Tool Mart          2106556727           0                 0                  1                  1               1             1           1                X                    1                1
1157        X              ERIC, Jorge               Tool Parts Pro       7607472626           0                 0                  0                  0               0             0           0                X                    1                1
1158                           ED                   Tool Place Corp       3055915653           0                 0                  0                  1               1             0           1                X                    1                1
1159        X                                   Tool Service Company      4796480046           0                 0                  0                  0               0             0           0                                     0                0
1160        X                KATHY                TOOL SERVICE CTR        6369400691           0                 0                  1                  1               1             0           1                X                    1                1
1161        X                                         Tool Shack *        8189568370           0                 1                  0                  1               1             0           1                                     0                1
1162        X                JIMBO                   Tool Shack Inc       9043848120           0                 1                  0                  1               1             0           1                X                    1                1
1163        X                                  Tool Shed - Grass Valley   5304777316           0                 0                  0                  0               0             1           1                X                    1                1
                                               Tool Tech Construction
1164        X                 JOHN                     Supply Inc         9254434735           0                 0                  1                  1               1             1           1                X                    1                1
1165        X               Erick Diaz                 Tool Time          8188416501           0                 0                  0                  0               0             1           1                X                    1                1
1166                         RUEBEN                    Tool Town          3183292988           0                 0                  0                  0               0             0           0                X                    1                1
1167        X              JEFF / RYAN           Tool Warehouse inc.      7012826083           0                 0                  1                  1               1             0           1                X                    1                1
1168        X                MANNY                    Tool Works          5626088802           0                 0                  0                  0               0             0           0                X                    1                1
1169                          MIKE                   Tool Zone Inc        3032528770           0                 0                  0                  0               0             0           0                X                    1                1

1170        X                  LEE                  Toolbarn Inc          4023315666           0                 0                  0                  0               0             0           0                X                    1                1
1171        X              ERIC HOUSE               Toolmart Inc.         7604800411           0                 0                  0                  0               0             0           0                X                    1                1

1172                          BRET            Tools & Accessories Corp.   4107964492           0                 0                  0                  0               0             0           0                X                    1                1
1173                       TOOL PLUS                 TOOLS PLUS           2037539042           0                 0                  0                  0               0             0           0                X                    1                1
1174        X                 RAY                     Tools R Us          9096269599           0                 0                  1                  1               1             0           1                X                    1                1
1175                       PAUL LOPEZ                TOOL-SMITH           2053239060           0                 0                  0                  0               0             0           0                X                    1                1
1176                         JOHN                    TOOL-SMITH           6158834236           0                 0                  0                  0               0             0           0                X                    1                1
1177        X                                       Tool-smith Co.        2516618970           0                 0                  0                  0               0             0           0                X                    1                1

1178                         KEVIN            Torrance Lock & Key, Inc.   3103208844           0                 0                  0                  1               1             0           1                X                    1                1
1179        X            CHRIS / ADDIE                Total Tool          5152442164           0                 0                  1                  1               1             1           1                X                    1                1
1180        X                RYAN                     Total Tool          6516468610           0                 0                  1                  1               1             1           1                X                    1                1
1181        X                ALLEN                    Total tool           #VALUE!             0                 0                  1                  1               1             1           1                X                    1                1
1182        X             PERRY, MARK             Total Tool Supply       9206874062           0                 0                  1                  1               1             0           1                X                    1                1
1183        X            CHARLIE, JERRY         Total Tool Supply Inc.    4024760049           0                 0                  0                  0               0             0           0                X                    1                1




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                                            Toyota Material Handling
1184                         SARAH                      Co *             8317572648            0                 0                  0                  1               1             0           1                X                    1                1
                                                Tractor Central in
1185                          ALEX                 Menomonie             7152351015            0                 0                  0                  0               0             0           0                X                    1                1
1186                        DARRYL                    Transcat           7134650525            0                 0                  0                  0               0             0           0                X                    1                1
1187                         MARY             Treml Sales & Service      4145452185            0                 0                  0                  0               0             0           0                X                    1                1
1188                         DAWN            Tri County Instruments      3036667458            0                 0                  0                  0               0             1           1                X                    1                1
1189                                              Tri Mount Corp         9735750196            0                 0                  0                  0               0             0           0                                     0                0
1190        X          JASON / JEFF / MATT       Tri State Supply        5095760372            0                 0                  1                  1               1             0           1                X                    1                1
                                           Triangle Engine & Bumper
1191                          # NG                     Dstrb *           4098356763            0                 0                  0                  0               0             0           0                X                    1                1
                                           Tri-City Business Machines
1192                                                     Co              4232456405            0                 0                  0                  0               0             0           0                                     0                0

1193                   DEANETTE, JEANETTE        Tricon Tool & Supply     7136784419           0                 0                  0                  0               0             0           0                X                    1                1
                                                Tri-County Power Tool,
1194        X              TRI COUNTY                      Inc.           2163986121           0                 0                  1                  1               1             0           1                X                    1                1
                                                Tri-county Tool Repair
1195        X                 CHRIS                       Center          8435545974           0                 0                  0                  0               0             1           1                X                    1                1
1196                         SANDY              Tri-State Hydraulics Inc  7244890911           0                 0                  0                  0               0             0           0                X                    1                1
1197                          DAVID             Tri-State Lock and Safe   2293880386           0                 0                  0                  0               0             0           0                X                    1                1
1198        X                SHAWN                   Tristate Repair      8124233323           0                 0                  0                  0               0             1           1                X                    1                1
                                              Tropical Construction Supl
1199        X                SANDY                          Inc           9412550411           0                 1                  0                  0               1             1           1                X                    1                1
                                                 Truflex/Pang Rubber
1200                    BILLY JOE FARLEY       Products Company, Inc.     7409673583           0                 0                  0                  0               0             0           0                X                    1                1
1201                          # NG                   Tulas Power *        9185843421           0                 0                  0                  0               0             0           0                                     0                0
1202                         BRIGGS             TULSA LOCK & KEY INC      9186645017           0                 0                  0                  0               0             0           0                X                    1                1
1203                        TIFFANY              Turk's Kern Copy Inc.    6613241231           0                 0                  0                  0               0             0           0                X                    1                1
1204                                            Turner Hydraulics Inc.    7172438865           0                 0                  0                  0               0             0           0                                     0                0
1205                      JOJO/ JOE JOE           Two Bill Supply, Inc.   9015254087           0                 0                  0                  0               0             0           0                X                    1                1
                                                TXR Global Techonogy
1206                                                     Service          6106309805           0                 0                  0                  0               0             0           0                                     0                0
                                              TY'S OUTDOOR POWER &
1207                         SHANE                       SVC INC          4023325958           0                 0                  0                  0               0             0           0                X                    1                1
                                                 TYSINGER SEWING &
1208                          JERRY                  VACUUM CTR           3366290959           0                 0                  0                  0               0             0           0                X                    1                1
1209        X                 DEAN                    UCI Sales Inc       2626396670           0                 0                  0                  1               1             1           1                X                    1                1
                                               Unicoa Industrial Supply
1210        X                ALVARO                         Co            6022547100           0                 0                  0                  0               0             0           0                X                    1                1
1211                          RICK              UniCure Spray Booths      6158896773           0                 0                  0                  0               0             0           0                X                    1                1
1212                                                      Unitec          2065751248           0                 0                  0                  0               0             0           0                                     0                0
                                               United California Glass &
1213                     DAVID,MIRELLA                     Door           4156483838           0                 0                  0                  1               1             0           1                X                    1                1
                                              United Electronic Services,
1214                                                       Inc.           4347979805           0                 0                  0                  0               0             0           0                                     0                0
1215                         NICK                United Hydraulic Inc     5407269518           0                 0                  0                  0               0             0           0                X                    1                1
1216        X             PAUL/SCOTT                 United Rentals       2814797043           0                 0                  0                  1               1             0           1                X                    1                1
1217        X                # NG                   United Rentals *      9155981192           0                 0                  0                  0               0             0           0                                     0                0

1218        X                 BOB             UNIVERSAL REPAIR SHOP      2063222126            0                 0                  0                  0               0             1           1                X                    1                1
                                               University Lock & Key -
1219                                                  Chicago            7733247258            0                 0                  0                  0               0             0           0                                     0                0




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                                               US Telphonics OUT OF
1220                          MARK                   BUSINESS              7196330072           0                 0                  0                  0               0             0           0                X                    1                1
1221                          JODY                  Usherwood              3154725022           0                 0                  0                  0               0             0           0                X                    1                1

1222        X                  LEO            UTILITY ELECTRIC SERVICE     8602410051           0                 0                  0                  1               1             1           1                X                    1                1
                                                  Vacuum Systems
1223                     PHILLIP BARKER             International          2166428779           0                 0                  0                  0               0             0           0                X                    1                1
                                               VALLEY CONSTRUCTION
1224        X                 JERRY                    SUPPLY              6619487310           0                 0                  0                  0               0             1           1                X                    1                1
1225                           KIM              Valley Office Systems      2085290135           0                 0                  0                  1               1             0           1                X                    1                1

1226                          TIM             Valley Scale Company, LLC    8122846572           0                 0                  0                  0               0             0           0                X                    1                1
1227                          KEN                 Valley Scale Svc Inc     7156758852           0                 0                  0                  0               0             0           0                X                    1                1
1228        X               PATRICK               Valley Tool Repair       9167373234           0                 0                  0                  1               1             1           1                X                    1                1
1229                       CHRISTINA                    Valmet             8036491036           0                 0                  0                  0               0             0           0                X                    1                1
1230        X           WILLIAM SANDERS        Valu Tool Repair & Sales    5026360798           0                 0                  0                  0               0             1           1                X                    1                1
1231        X                 JOE                   VAMACO TOOL            3172443920           0                 0                  0                  1               1             1           1                X                    1                1
1232                          WILL             Vancouver Bolt & Supply     3604259324           0                 0                  0                  0               0             0           0                X                    1                1
1233                     BRUCE QUINN             Viking Electric Supply    6126271313           0                 0                  0                  0               0             0           0                X                    1                1
1234                          BILL             VILLAGE LOCK & KEY INC      4109970463           0                 0                  0                  0               0             0           0                X                    1                1
1235        X              GREG/ KIM                 Vortex Doors          3237215064           0                 0                  0                  1               1             0           1                X                    1                1

1236                      CINDY / LUCY        Vortex Industries - Carson   3105494911           0                 0                  0                  0               0             0           0                X                    1                1
1237                     ANDREA, Emmy          Vortex Industries, Inc.     8585604051           0                 0                  0                  1               1             0           1                X                    1                1
1238                     ARACELI, TIANA         Vortex Industries; Inc     7144340727           0                 0                  0                  0               0             0           0                X                    1                1
                                              W & E Phillips Locksmiths
1239                          MIKE                        Inc              5184626413           0                 0                  0                  0               0             0           0                X                    1                1
1240                                              W.A. Chester LLC         2404871941           0                 0                  0                  0               0             0           0                                     0                0
1241        X           CHERYL, JENNIFER           Wagner Electric         2604844485           0                 1                  0                  1               1             1           1                X                    1                1
1242        X          JOAN, Mary, Debra               WALCO               4019414451           0                 0                  0                  1               1             0           1                X                    1                1
                                                WALTCO TOOLS AND
1243                         LISA                   EQUIPMENTS             6182595134           0                 0                  0                  0               0             0           0                X                    1                1
1244                     MARK, Dominic          Walton's Saw Works         4154565482           0                 0                  0                  1               1             0           1                X                    1                1
1245        X                BILL              Waring Industrial Tool      7737282799           0                 0                  0                  0               0             1           1                X                    1                1
1246                                              Watson Security          2067288806           0                 0                  0                  0               0             0           0                                     0                0
1247                           AL              Wayne Fasteners, Inc.,      2604838082           0                 0                  0                  0               0             0           0                X                    1                1
1248                     ROKKI (ROCKY?)          WD DISTRIBUTING           4056343637           0                 0                  0                  0               0             0           0                X                    1                1
1249                         JUSTIN               Weatherford Co           5124446766           0                 0                  0                  0               0             0           0                X                    1                1
1250                        SHERRIE                 WECOM, Inc.            9287535991           0                 0                  0                  1               1             0           1                X                    1                1
                                              We-Do Equipment Repair
1251        X           FILLIPE, KIM, TONY             & Supl              9518089171           0                 0                  0                  1               1             0           1                X                    1                1

1252                        JENNIFER          Weigh-Rite Scale Co., Inc.   7152473638           0                 0                  0                  0               0             0           0                X                    1                1

1253                         DUSTIN               Wesbrooks Inc            9407234190           0                 0                  0                  0               0             0           0                X                    1                1
                                              West Caldwell Calibration
1254                       ELIX, FELIX?             Laboratories           5855864327           0                 0                  0                  0               0             0           0                X                    1                1
                                                West Coast Electric
1255        X               SHANNON                   Motors               8054873666           0                 0                  0                  1               1             0           1                X                    1                1

1256        X               JOHN, JEN         West Equipment Company 4196982540                 0                 0                  0                  1               1             0           1                X                    1                1
                                                 West Philadelphia
1257                          SAM                    LockSmith       2153867550                 0                 0                  0                  0               0             0           0                X                    1                1




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1258                            KELLY            Western Nevada Supply     7753594649           0                 0                  0                  0               0             0           0                X                    1                1
                                                   WESTERN STATES
1259                           ROBIN                 CALIBRATION           8014845107           0                 0                  0                  0               0             0           0                X                    1                1
                         # NG NO LONGER IN
1260        X                   BUS.            Western Tool Supply *      5419674342           0                 0                  0                  0               0             0           0                                     0                0
                                                   WESTSIDE BLDG
1261        X                 LEO, JOSE               MATERIALS            7143851688           1                 0                  0                  0               1             1           1                X                    1                1
                                                White Cap Construction
1262        X                  ROGER                    Supply             4799270303           0                 0                  0                  1               1             0           1                X                    1                1
                                                White Cap Construction
1263                         MIKE                       Supply             3193379619           0                 0                  0                  1               1             0           1                X                    1                1
                              ERIC              White Cap Construction
1264        X             WOOLSEY/BRIAN                 Supply             5152436640           0                 0                  0                  1               1             0           1                X                    1                1
                                                White Cap Construction
1265        X                ROB, LARRY                 Supply               #N/A               0                 0                  0                  1               1             0           1                X                    1                1
                                                White Star Machinery &
1266                      JULIE OR MASON                Supply             3168321375           0                 0                  0                  0               0             0           0                X                    1                1
1267                          RICHARD           Whitehead Hardware Co      2292450579           0                 0                  0                  0               0             0           0                X                    1                1
1268        X              SUSIE, CHRISTY         Whitton Supply Co.       4052365595           0                 1                  0                  1               1             1           1                X                    1                1
1269                            ALEX             Wilks Air Conditioning    2105332281           0                 0                  0                  0               0             0           0                X                    1                1
1270                           CHERYL           Williams Appliance Svc     3108333186           0                 0                  0                  1               1             0           1                X                    1                1
1271        X               DAVE, TINA               Willis Electric       6613241605           0                 0                  0                  0               0             0           0                X                    1                1

                       JEFF/ Permanently ClosedWisconsin Power Tool Inc    4147743653           0                 0                  0                  0               0             0           0                X                    1                1
1272
1273        X                   DAN              Wisdom Tool Repair        7144321651           0                 0                  0                  0               0             1           1                X                    1                1
1274                           KAREN            Wizard Lock & Safe Co.     7172995609           0                 0                  0                  0               0             0           0                X                    1                1
                                                Word Processing Service,
1275                                                     Inc               3017979029           0                 0                  0                  0               0             0           0                                     0                0
1276                            JESUS           Worldwide Automation       9567236258           0                 0                  0                  0               0             0           0                X                    1                1

1277                            MIKE             Wurth Action Bolt & Tool 5618450255            0                 0                  0                  0               0             0           0                X                    1                1
                                                Yarbrough's Machine Shop
1278                       CHRISTA, PARTS                  Inc            4178696678            0                 0                  0                  0               0             0           0                X                    1                1

1279                           KATIE            Ye Olde Locksmith Shoppe   5188691388           0                 0                  0                  0               0             0           0                X                    1                1
1280                       BOBBIE/BRIAN             Yeagle Technology      8604297176           0                 0                  0                  1               1             0           1                X                    1                1
1281                           ALLEN               York Lock & Key Co      3056720301           0                 0                  0                  0               0             0           0                X                    1                1
1282                      TIFFANY, Theresa           Yuba Lock & Safe      5302721523           0                 0                  0                  1               1             0           1                X                    1                1
1283                            Alex             Zarco Electronic Supply   9157780671           0                 0                  0                  0               0             0           0                X                    1                1
1284                           ISAAC                   Zemarc Corp         5592682361           0                 0                  0                  0               0             0           0                X                    1                1
                                                  Zenmar Power Tool &
1285                       ANNE WISMER                Hoist Systems        4107851103           0                 0                  0                  0               0             0           0                X                    1                1
1286                          MARK                    Zo-Air Co., Inc.     6317375682           0                 0                  0                  0               0             0           0                X                    1                1
1287                                                                       5615331514                                                                                                             0
1288                                                                       5618456749                                                                                                             0
1289                                                                       5627990624                                                                                                             0
1290                                                                       5703218207                                                                                                             0
1291                                                                       5733228201                                                                                                             0
1292                                                                       5733245260                                                                                                             0
1293                                                                       5742643465                                                                                                             0
1294                                                                       5852545159                                                                                                             0
1295                                                                       5854270887                                                                                                             0




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1296                                                     5867580589                                                                                                             0
1297                                                     5867582079                                                                                                             0
1298                                                     5869776518                                                                                                             0
1299                                                     6012645146                                                                                                             0
1300                                                     6013535331                                                                                                             0
1301                                                     6016836570                                                                                                             0
1302                                                     6022324100                                                                                                             0
1303                                                     6023231942                                                                                                             0
1304                                                     6024379143                                                                                                             0
1305                                                     6029579754                                                                                                             0
1306                                                     6033826482                                                                                                             0
1307                                                     6036660115                                                                                                             0
1308                                                     6038892849                                                                                                             0
1309                                                     6043030134                                                                                                             0
1310                                                     6052258169                                                                                                             0
1311                                                     6065740452                                                                                                             0
1312                                                     6077328061                                                                                                             0
1313                                                     6082757170                                                                                                             0
1314                                                     6087543257                                                                                                             0
1315                                                     6103532512                                                                                                             0
1316                                                     2032628206                                                                                                             0
1317                                                     2106621604                                                                                                             0
1318                                                     7243461225                                                                                                             0
1319                                                     7635501776                                                                                                             0
1320                                                     7652822717                                                                                                             0
1321                                                     7702460539                                                                                                             0
1322                                                     7704237385                                                                                                             0
1323                                                     8604452313                                                                                                             0
1324                                                     8605299869                                                                                                             0
1325                                                     7704487395                                                                                                             0
1326                                                     7706310664                                                                                                             0
1327                                                     8642840800                                                                                                             0
1328                                                     9019429487                                                                                                             0
1329                                                     2196967793                                                                                                             0
1330                                                     2404921529                                                                                                             0
1331                                                     2485400958                                                                                                             0
1332                                                     2485413490                                                                                                             0
1333                                                     2534739667                                                                                                             0
1334                                                     2538337521                                                                                                             0
1335                                                     2538547954                                                                                                             0
1336                                                     2539229709                                                                                                             0
1337                                                     2539466143                                                                                                             0
1338                                                     2704427151                                                                                                             0
1339                                                     2814690915                                                                                                             0
1340                                                     2814717690                                                                                                             0
1341                                                     3032929743                                                                                                             0
1342                                                     9098545092                                                                                                             0
1343                                                     9046939281                                                                                                             0
1344                                                     9055428300                                                                                                             0
1345                                                     9058508978                                                                                                             0




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1346                                                     9073443414                                                                                                             0
1347                                                     9136318372                                                                                                             0
1348                                                     4254548673                                                                                                             0
1349                                                     4344476740                                                                                                             0
1350                                                     4404734842                                                                                                             0
1351                                                     4435432235                                                                                                             0
1352                                                     4796490909                                                                                                             0
1353                                                     4797823087                                                                                                             0
1354                                                     5017605055                                                                                                             0
1355                                                     5023803829                                                                                                             0
1356                                                     5026341931                                                                                                             0
1357                                                     5026350712                                                                                                             0
1358                                                     5032230666                                                                                                             0
1359                                                     5032312521                                                                                                             0
1360                                                     5032340748                                                                                                             0
1361                                                     5035987320                                                                                                             0
1362                                                     5036909515                                                                                                             0
1363                                                     5036936080                                                                                                             0
1364                                                     5052927134                                                                                                             0
1365                                                     5053265624                                                                                                             0
1366                                                     5053420556                                                                                                             0
1367                                                     5088701697                                                                                                             0
1368                                                     5095358544                                                                                                             0
1369                                                     5106586594                                                                                                             0
1370                                                     5136746469                                                                                                             0
1371                                                     5152539584                                                                                                             0
1372                                                     5208820692                                                                                                             0
1373                                                     7023829866                                                                                                             0
1374                                                     7027348330                                                                                                             0
1375                                                     7038020727                                                                                                             0
1376                                                     7132280619                                                                                                             0
1377                                                     7132479304                                                                                                             0
1378                                                     7137228218                                                                                                             0
1379                                                     7139912139                                                                                                             0
1380                                                     7142889149                                                                                                             0
1381                                                     7146309339                                                                                                             0
1382                                                     8433980289                                                                                                             0
1383                                                     8478437622                                                                                                             0
1384                                                     8504690387                                                                                                             0
1385                                                     8585668920                                                                                                             0
1386                                                     8585690954                                                                                                             0
1387                                                     7709735187                                                                                                             0
1388                                                     7709950927                                                                                                             0
1389                                                     7877827177                                                                                                             0
1390                                                     8013520352                                                                                                             0
1391                                                     8013942941                                                                                                             0
1392                                                     8014878649                                                                                                             0
1393                                                     8016270801                                                                                                             0
1394                                                     8044218556                                                                                                             0
1395                                                     3102580213                                                                                                             0




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       Relations (1)   Contact/Contacts (2)   Name (3)                "Credit app list…")      flyers…"       recipient")         Masters…"       duplicates    0-1410 (10) duplicates       1285 (12)            1285 (13)          (14)
1396                                                     6142368122                                                                                                             0
1397                                                     6148953187                                                                                                             0
1398                                                     6152568020                                                                                                             0
1399                                                     6153200498                                                                                                             0
1400                                                     6155635122                                                                                                             0
1401                                                     6188338823                                                                                                             0
1402                                                     6192207178                                                                                                             0
1403                                                     6263317508                                                                                                             0
1404                                                     6308519855                                                                                                             0
1405                                                     6312712148                                                                                                             0
1406                                                     6312777513                                                                                                             0
1407                                                     6365301316                                                                                                             0
1408                                                     8088417492                                                                                                             0
1409                                                     8102254602                                                                                                             0
1410                                                     3133889677                                                                                                             0
1411                                                     3172437297                                                                                                             0
1412                                                     3202355351                                                                                                             0
1413                                                     6164582554                                                                                                             0
1414                                                     6167918997                                                                                                             0
1415                                                     6186640772                                                                                                             0
1416                                                     6306287978                                                                                                             0
1417                                                     6362394178                                                                                                             0
1418                                                     3154720855                                                                                                             0
1419                                                     3166863151                                                                                                             0
1420                                                     3188613821                                                                                                             0
1421                                                     3192472893                                                                                                             0
1422                                                     3193937533                                                                                                             0
1423                                                     3197520796                                                                                                             0
1424                                                     4799673944                                                                                                             0
1425                                                     4805072566                                                                                                             0
1426                                                     6619400359                                                                                                             0
1427                                                     7034214900                                                                                                             0
1428                                                     6108746372                                                                                                             0
1429                                                     8474390699                                                                                                             0
1430                                                     3237210596                                                                                                             0
1431                                                     3348997378                                                                                                             0
1432                                                     3363789819                                                                                                             0
1433                                                     3366769271                                                                                                             0
1434                                                     3369223318                                                                                                             0
1435                                                     3378737062                                                                                                             0
1436                                                     3525964403                                                                                                             0
1437                                                     3618837365                                                                                                             0
1438                                                     3863293555                                                                                                             0
1439                                                     3867750379                                                                                                             0
1440                                                     4014343778                                                                                                             0
1441                                                     3374565259                                                                                                             0
1442                                                     4014677799                                                                                                             0
1443                                                     9494980459                                                                                                             0
1444                                                     8479567925                                                                                                             0
1445                                                     3056426503                                                                                                             0




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1446                                                     7575434823                                                                                                             0
1447                                                     7344297254                                                                                                             0
1448                                                     7177551641                                                                                                             0
1449                                                     6514821495                                                                                                             0
1450                                                     2064323977                                                                                                             0
1451                                                     9858792144                                                                                                             0
1452                                                     3527955015                                                                                                             0
1453                                                     9095931033                                                                                                             0
1454                                                     3139330440                                                                                                             0
1455                                                     4232790846                                                                                                             0
1456                                                     4023937928                                                                                                             0
1457                                                     4024650296                                                                                                             0
1458                                                     4024949992                                                                                                             0
1459                                                     4025540743                                                                                                             0
1460                                                     4025585553                                                                                                             0
1461                                                     4025922003                                                                                                             0
1462                                                     4043552012                                                                                                             0
1463                                                     4052324722                                                                                                             0
1464                                                     4056313153                                                                                                             0
1465                                                     4062458916                                                                                                             0
1466                                                     4067216426                                                                                                             0
1467                                                     4072950258                                                                                                             0
1468                                                     4074694391                                                                                                             0
1469                                                     4108962506                                                                                                             0
1470                                                     4109569039                                                                                                             0
1471                                                     4135680066                                                                                                             0
1472                                                     4147607707                                                                                                             0
1473                                                     4147719118                                                                                                             0
1474                                                     4156438096                                                                                                             0
1475                                                     4178651136                                                                                                             0
1476                                                     4188773958                                                                                                             0
1477                                                     4193558557                                                                                                             0
1478                                                     9198516928                                                                                                             0
1479                                                     9203361674                                                                                                             0
1480                                                     9204320726                                                                                                             0
1481                                                     9419219248                                                                                                             0
1482                                                     9528816656                                                                                                             0
1483                                                     9528843750                                                                                                             0
1484                                                     9543964221                                                                                                             0
1485                                                     9546930034                                                                                                             0
1486                                                     9702473637                                                                                                             0
1487                                                     9703525004                                                                                                             0
1488                                                     9722722634                                                                                                             0
1489                                                     9723047300                                                                                                             0
1490                                                     9729912902                                                                                                             0
1491                                                     9733769056                                                                                                             0
1492                                                     9735846679                                                                                                             0
1493                                                     9737437904                                                                                                             0
1494                                                     9782839157                                                                                                             0
1495                                                     8003288905                                                                                                             0




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1496                                                     9547332133                                                                                                             0
1497                                                     3036558143                                                                                                             0
1498                                                     3037591390                                                                                                             0




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